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                 Exhibit A
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                     Stephanie L. Budge, PhD, Licensed Psychologist
                                    Curriculum Vitae
     Department of Counseling Psychology, School of Education, Room 305, University of
         Wisconsin-Madison, Madison, WI 53706, 608-263-3753, budge@wisc.edu


 EDUCATION

 Doctor of Philosophy                                                           8/2006 - 8/2011
 University of Wisconsin-Madison
 APA Accredited Counseling Psychology Program
 Minor: Psychological Assessment
 Dissertation Title: Distress in the transition process for transgender
 individuals: The role of loss, community, and coping.

 Master of Science                                                              8/2004 - 5/2006
 University of Texas at Austin
 Educational Psychology
 Thesis Title: Sexual pressure in gay, lesbian, and bisexual relationships.

 Bachelor of Science
 University of Utah                                                             1/2003 - 12/2003
 Major: Psychology

 Pace University                                                                9/2000 - 12/2002
 Major: Psychology
 Minor: Women’s and Gender Studies


ACADEMIC POSITIONS

Professor, tenured                                                            6/2024--current
Department of Counseling Psychology
University of Wisconsin-Madison

Associate Professor, tenured                                                  8/2018 – 6/2024
Department of Counseling Psychology,
University of Wisconsin-Madison

Assistant Professor, tenure-track                                             8/2016 – 8/2018
Department of Counseling Psychology,
University of Wisconsin-Madison

Assistant Professor, visiting,                                                8/2014 - 7/2016
Department of Counseling Psychology,
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University of Wisconsin-Madison

Assistant Professor, tenure-track                                         8/2011 - 8/2014
Department of Educational and Counseling Psychology,
University of Louisville

ADDITIONAL POSITIONS

Director of Clinical Training                                            4/2024 – current
Department of Counseling Psychology
University of Wisconsin-Madison

Institute for Diversity Science Faculty Affiliate                        9/2023 – current
University of Wisconsin-Madison

Gender and Women’s Studies Faculty Affiliate                             9/2022 – current
University of Wisconsin-Madison

Director of AHEAD (Advancing Health Equity and Diversity)                7/2018 – 06/2024
Institute for Clinical and Translational Research
Collaborative Center for Health Equity
University of Wisconsin-Madison

Diversity, Equity, and Inclusion Scholar In Residence                    1/2022 – 12/2023
Mental Illness Research Education and Clinical Center
Veterans Affairs

Health Psychologist                                                      6/2017 – 2/2019
University of Wisconsin Hospital & Clinics
American Family Children’s Hospital

CLINICAL TRAINING

Postdoctoral Clinical Training                                            7/2013 - 6/2014
University of Louisville Trans Project

Postdoctoral Clinical Training                                            9/2011 - 8/2012
University of Louisville Counseling Center

Predoctoral Internship                                                    8/2010 - 8/2011
University of Minnesota, University
Counseling and Consulting Services,
APA-Accredited, APPIC listed predoctoral internship


PROFESSIONAL LICENSE



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Licensed Psychologist in Wisconsin - 3244-57                                 2/2015 - current

Licensed Psychologist (provisional) in Kentucky - 2012-42                    8/2011 - 6/2014
(under supervision to gain hours for Health Service Provider status)


SPECIAL HONORS AND AWARDS

Vilas Mid-Career Award                                                               11/2024
Vilas Faculty Mid-Career Investigator Awards recognize research and teaching excellence in
faculty who are at a mid-career stage at the University of Wisconsin-Madison.

American Psychological Association Division 29 Fellow                                      8/2023
Fellow status is an honor bestowed upon APA members who have shown evidence of unusual
and outstanding contributions or performance in the field of psychology. Fellow status requires
that a person's work has had a national impact on the field of psychology beyond a local, state or
regional level. Division 29 focuses on psychotherapy science and provision.

Excellence in Diversity Award                                                        3/2022
Awarded the School of Education Excellence in Diversity Award at UW-Madison—awarded for
my research, teaching, and service focused on supporting and advocating for LGBTQ people.

American Psychological Association Division 44 Fellow                                    10/2021
Fellow status is an honor bestowed upon APA members who have shown evidence of unusual
and outstanding contributions or performance in the field of psychology. Fellow status requires
that a person's work has had a national impact on the field of psychology beyond a local, state or
regional level. Division 44 focuses on psychological science and issues related to Lesbian, Gay,
Bisexual, Transgender, and Queer people.

UW-Madison Exceptional Service Award                                               4/2021
Awarded the UW-Madison Exceptional Service Award, provided to faculty who provide service
“above and beyond” service expectorations in a university environment

Division 17 Distinguished Contribution to Counseling Psychology                     4/2021
American Psychological Association Division 17 (Society of Counseling Psychology) award for
research and practice with trans and nonbinary populations

Division 29 Social Justice Award                                                          2/2021
American Psychological Association Division 29 (Society for the Advancement of
Psychotherapy) award for social justice work and research with LGBT populations

Impact 2030 Faculty Fellow                                                             8/2020
Awarded the Impact 2030 Faculty Fellowship. Chosen to be one of 10 faculty in the School of
Education to be an Impact 2030 Fellow. The fellowship includes 5 years of research support.




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Honorary Rainbow Degree                                                                5/2019
The University of Wisconsin-Madison’s Gender and Sexuality Campus Center provides an
award every year to an individual on campus who is dedicated to making positive change for
LGBTQ students on campus.

Community Engaged Scholarship Award                                                 4/2018
The University of Wisconsin-Madison School of Education award for researchers engaged in
community-focused scholarship—awarded specifically for my collaborations with the Wisconsin
Trans Health Coalition

Outstanding Paper Award                                                              6/2017
American Psychological Association Division 17 (Counseling Psychology) award for a 2016
major contribution published in The Counseling Psychologist

Division 17 Early Career Award                                                       7/2017
American Psychological Association Division 17 (Counseling Psychology) award for social
justice work and research with LGBT populations

Division 29 Early Career Award                                                        5/2015
American Psychological Association Division 29 (Society for the Advancement of
Psychotherapy) award for psychotherapy research

University of Louisville Trustees Award Nomination                                    2/2013
Nomination provided to faculty for excelling in mentoring students

Outstanding Graduate Student Award                                                7/2010
American Psychological Association Division 17 (Counseling Psychology) LGBT award given
for community contributions with the LGBT population during my doctoral studies

Graduate Student Research Award                                                       7/2010
American Psychological Association Division 17 (Counseling Psychology)
Society for Vocational Psychology/ACT for career research regarding transgender
individuals

Transgender Research Award                                                            6/2010
Recipient of the inaugural American Psychological Association Division 44
(Society for the Psychological Study of Lesbian, Gay, Bisexual, and Transgender
Issues) award for research with transgender populations

John W. M. Rothney Memorial Research Award                                         2/2010
University of Wisconsin-Madison Counseling Psychology Department award provided to an
outstanding doctoral student excelling in research

Outstanding Student Poster Award                                                      8/2009
American Psychological Association Division 17 (Counseling Psychology)




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                                          RESEARCH
JOURNAL PUBLICATIONS
Underlining denotes student, * indicates senior author


    1. Budge, S.L., Tebbe, E.A., Lee, J., Matsuno, E., & Lindley, L. (In press). The Healing
        through Ongoing Psychological Empowerment (HOPE) telehealth intervention with Two
        Spirit, Transgender, and Nonbinary clients of color in the United States: An open clinical
        trial feasibility and implementation analysis. JMIR Formative Research.
    2. Line EC, Zubizarreta D, Budge SL, Watson RJ, Gordon AR, Austin SB, & Katz-Wise
        SL. (In press). Minority stress and protective factors for body image concerns and
        disordered eating among a cohort of transgender and nonbinary youth: A preliminary
        longitudinal study. International Journal of Transgender Health.
    3. Budge, S.L., Tebbe, E.A., Lee, J., Lindley, L., Dominguez, S., & Matsuno, E., (In press).
        Longitudinal outcomes of an open psychotherapy clinical trial with Two Spirit,
        transgender, and nonbinary clients of color. Transgender Health.
    4. Budge, S.L., Abreu, R.L., Flinn, R.E., Donahue, K., Estevez, R., Olezeski, C., Bernacki,
        J., Barr, S., Bettergarcia, J., Sprott, R., & Allen, B.J. (In press). Gender affirming care is
        evidence-based for transgender youth. Journal of Adolescent Health.
    5. Tebbe, E.A., Matsuno, E., Lee, J., Domínguez, S., & *Budge, S.L. (In press).
        Implementation and Evaluation of the Gender Resilience, Resistance, Empowerment, and
        Affirmation Training (GREAT) Pilot Program. Psychotherapy.
    6. Schürmann-Vengels, J., Pirke, J., Troche, S.J., Budge, S.L., Flückiger, C., & Willutzki,
        U. (In press). Dual-continual examination and differential prediction of well-being and
        distress in LGBTQIA+ populations. Journal of Counseling Psychology.
    7. Domínguez, Jr., Matsuno, E., Adames, H., Mosley, D., Richardson, J., Lee, J., Norton,
        M., & Budge, S.L. (In press). Building and practicing anti-colonial psychotherapy: using
        radical healing to address the coloniality of gender. American Psychologist.
    8. Lee, L., Hoyt, W., Budge, S.L., & Lee, B. (In press). Mediators of parental attachment
        and internalized transnegativity for Korean transgender and nonbinary people. The
        Counseling Psychologist.
    9. Budge, S.L., Wachter, E., Barburoğlu, Y., Gao, S., Dvorak, D., Elliott, G., Gilchrist, S.,
        Godwin, E.G., and Katz-Wise, S.L. (2024). A longitudinal investigation of trans and
        nonbinary youth identity: Individual processes and family agreement in the Trans Teens
        and Family Narratives Study. LGBTQ+ Family: An Interdisciplinary Journal.
    10. Lee, J., Kim, H., & Budge, S.L. (2024). The Companionship Model for affirming
        assessment sessions for transgender and nonbinary youths and families. Harvard Review
        of Psychiatry, 5, 183-192.
    11. Lindley, L., Frost, N., Barr, S., & Budge, S.L. (2024). The Modified Gender Minority
        Stress Measure: A psychometric validation study. Psychology of Sexual Orientation and
        Gender Diversity.
    12. Lindley, L., Lee, J., Norton, M., & Budge, S.L. (2024). Sociocultural messages about
        gender dysphoria (dis)align with the lived experiences of trans and nonbinary individuals:
        A qualitative study. Sex Roles.




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    13. Veldhuis, C.B., Cascalheira, C.J., Delucio, K., Budge, S.L., Matsuno, E., Velez, B.L.,
        Huynh, K., Balsam, K.F., & Galupo, P.M., (2024). Sexual orientation and gender
        diversity research manuscript writing guide. Psychology of Sexual Orientation and
        Gender Diversity.
    14. Katz, M., Hilsenroth, M., Johnson, N., Budge, S.L., & Owen, J. (2024). “Window of
        Opportunity”: Clients' experiences of crying in psychotherapy and their relationship with
        change, the alliance, and attachment. Professional Psychology: Research and Practice,
        55, 258-268.
    15. Katz-Wise, S.L., Sarda, V., Line, E.C., Marchwinski, B., Budge, S.L., Godwin, E.G.,
        Moore, L.B.M., Ehrensaft, D., Rosal, M.C., & Thomson, K.A. (2024). Longitudinal
        family functioning and mental health in transgender and nonbinary youth and their
        families. Journal of Child and Family Studies, 33, 1321-1335.
    16. Lindley, L. & Budge, S.L. (2024). Challenging and Understanding Gendered Narratives:
        The Development and Validation of the Transnormativity Measure (TM). International
        Journal of Transgender Health, 25, 295-310.
    17. Budge, S.L., Tebbe, E.A., & Love, D. (2024). The development and pilot testing of a
        minority stress psychoeducation tool for transgender and nonbinary people. Transgender
        Health, 9, 275–279.
    18. Lindley, L., & Budge, S.L. (2024). Development and validation of the Trans and
        Nonbinary Coping Measure (TNCM): A measure of trans and nonbinary specific ways of
        coping with gender-related stress. Psychology of Sexual Orientation and Gender
        Diversity, 11, 425-441.
    19. Tebbe, E., Bell, H., Cassidy, K., Lindner, S., Wilson, E., & Budge, S.L. (2022). “It’s
        loving yourself for you”: Happiness in trans and nonbinary adults. Psychology of Sexual
        Orientation and Gender Diversity, 11, 397-410.
    20. Budge, S.L., Lee, J., Tebbe, E.A., & Dominguez, S. (2023). Using the companionship
        model when writing referral letters for transgender and nonbinary adults. Psychology of
        Sexual Orientation and Gender Diversity.
    21. Budge, S.L., Sinnard, M.T, Lindley, L., Dillard, Q., & Katz-Wise, S.L. (2023). Content
        analyses of concordance and discordance regarding identity, affect, and coping in
        families with transgender and nonbinary youth..LGBTQ+ Family: An Interdisciplinary
        Journal, 19, 1-20.
    22. Lindley, L., Pulice-Farrow, L., & Budge, S.L. (2023). The antecedents of gender
        dysphoria and the associated thoughts, emotions, and ways of coping: A qualitative
        analysis and clinical implications. Counselling Psychology Quarterly, 36, 592-614.
    23. Budge, S.L., Shoenike, D., Lee, J., Norton, M., & Sinnard, M.T. (2023). Transgender and
        nonbinary patients’ psychotherapy goals: A secondary analysis from a randomized
        controlled trial. Journal of Psychiatric Research, 159, 82-86.
    24. Raines, C., Lindley, L., & Budge, S.L. (2023). Development and validation of the
        Masculine Sexual Entitlement Norms Scale. Psychology of Men & Masculinities, 24,
        123-136.
    25. Xu, G., Wang, K., Budge, S.L., & Sun, S. (2023). “We don’t have a template to follow”:
        Sexual identity development and its facilitative factors among sexual minority men in the
        context of China. Journal of Counseling Psychology, 70, 46–158.




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    26. Tebbe, E.A. & Budge, S.L. (2022). Mental health and the factors driving disparities and
        promoting well-being in trans and nonbinary people. Nature Reviews Psychology, 12,
        694-707.
    27. dickey, l. m., Thomas, K., Andert, B., Ibarra, N., & Budge, S. L. (2022). The relationship
        between realization of transgender identity and transition processes with nonsuicidal self-
        injury in transgender populations. Psychiatry Research, 310, 114332.
    28. Minero, L.M., Domínguez, S. Jr., Budge, S.L., & Salcedo, B. (2022). Latinx trans
        immigrants’ survival of torture in U.S. detention: A qualitative investigation of the
        psychological impact of abuse and mistreatment. International Journal of Transgender
        Health, 23, 35-59.
    29. Sinnard, M.T., Budge, S.L., & Rossman, H.R. (2022). Nonbinary individuals’ emotional
        experiences: implications for advancing counseling psychology beyond the binary.
        Counselling Psychology Quarterly, 35, 19-42.
    30. Barr, S.M., Snyder, K., Adelson, J., & Budge, S.L. (2021). Post-traumatic stress in the
        trans community: The roles of anti-transgender bias, non-affirmation, and internalized
        transphobia. Psychology of Sexual Orientation and Gender Diversity, 9(4), 410–421.
    31. Budge, S.L., Guo, E., Mauk, E., Tebbe, E.A. (2021). The development of an
        observational coding scheme to assess transgender and nonbinary clients’ reported
        minority stress experiences. Psychotherapy, 58, 288-300.
    32. Thai, J.L., Budge, S.L., & McCubbin, L. (2021). Qualitative examination of transgender
        Asian Americans navigating and negotiating cultural identities and values.
        Asian American Journal of Psychology, 12, 301–316.
    33. Bhattacharya, N., Budge, S.L., Pantalone, D.W., & Katz-Wise, S.L. (2021).
        Conceptualizing relationships among transgender and gender diverse youth and their
        caregivers. Journal of Family Psychology, 35, 595-605.
    34. Budge, S.L., Sinnard, M.T., & Hoyt, W.T. (2021). Longitudinal effects of psychotherapy
        with transgender and nonbinary clients: A randomized controlled pilot trial.
        Psychotherapy, 58, 1-11.
    35. Budge, S.L., Orzechowski, M., Lavender, A., Schamms, S., Onsgard, K., Leibowitz, S.,
        & Katz-Wise, S.L. (2021). Transgender and gender nonconforming youths’ emotions:
        The Appraisal, Valence, Arousal Model. The Counseling Psychologist, 49, 138-172.
    36. Budge, S.L., Lee, J., Lindley, L. (2020). Therapy with transmasculine clients.
        Psychotherapie im Dialogue, 21, 52-56.
    37. Sun, S., Budge, S.L., Shen, W., Ge, X., Liu, M., & Feng, S. (2020). Minority stress and
        health: A grounded theory exploration among men who have sex with men in China and
        implications for health research and interventions. Social Science and Medicine.
    38. Allen, B.J., Andert, B., Botsford, J., Budge, S.L., & Rehm, J. (2020). Intersections at the
        margins: Comparing school experiences of nonbinary and binary-identified transgender
        youth. Journal of School Health, 90, 358-367.
    39. dicky, l.m. & Budge, S.L. (2020). Suicide and the transgender experience: A public
        health crisis. American Psychologist, 75, 380-390.
    40. Budge, S.L., Domínguez, S. Jr., & Goldberg, A.E. (2020). Minority stress in nonbinary
        students in higher education: The role of campus climate and belongingness. Psychology
        of Sexual Orientation and Gender Diversity, 7, 222-229.
    41. Pantalone, D. & Budge, S.L. (2020). Psychotherapy research is needed to improve
        clinical practice for clients with HIV. Psychotherapy, 57, 1-7.



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Stephanie Budge CV 2024



    42. Hase, C.N., Meadows, J.C., & Budge, S.L. (2019). Inclusion and exclusion in the white
        space: An investigation of the experiences of people of color in a primarily white
        American meditation community. Journal of Global Buddhism, 20, 1-18.
    43. Paquin, J., Tao, K., & Budge, S.L. (2019). A social justice framework for ethical
        psychotherapy research. Psychotherapy, 56, 491-502.
    44. Budge, S.L., & Katz-Wise, S. L. (2019). Sexual minorities’ sexual communication,
        internalized homophobia, and conformity to gender norms. International Journal of
        Sexual Health, 31, 36-49.
    45. Barcelos, C. & Budge, S.L. (2019). Inequalities in crowdfunding for transgender health
        care. Trans Health, 4, 81-88..
    46. Goldberg, A., Kuvalanka, K., Budge, S.L., Benz, M., & Smith, J. (2019). Mental health
        and health care experiences of transgender undergraduate and graduate students: A mixed
        methods study. The Counseling Psychologist, 47, 59-97.
    47. Rossman, K., Sinnard, M., & Budge, S.L. (2019). A qualitative examination of
        consideration and practice of consensual non-monogamy among sexual and gender
        minority couples. Psychology of Sexual Orientation and Gender Diversity, 6, 11-21.
    48. Budge, S.L., Conniff, J., Belcourt, W.S., Parks, R. L., Pantalone, D., & Katz-Wise, S.L.
        (2018). A grounded theory study of the development of trans youths’ awareness of
        coping with gender identity. Journal of Child and Family Studies, 27, 3048-3061.
    49. Budge, S.L. & Moradi, B. (2018). Attending to gender in psychotherapy: Understanding
        and incorporating systems of power. Journal of Clinical Psychology, 74, 2014-2027.
    50. Moradi, M. & Budge, S.L. (2018). A meta-analytic approach to studying psychotherapy
        outcomes for LGBTQ affirmative therapies. Journal of Clinical Psychology, 74, 2028-
        2042.
    51. Budge, S.L., Orovecz, J. , Owen, J.J., & Sherry, A.R. (2018). The relationship
        between conformity to gender norms, sexual orientation, and gender identity for sexual
        minorities. Counselling Psychology Quarterly, 31, 79-97.
    52. Salkas, S., Conniff, J. & Budge, S.L. (2018). Provider quality and barriers to care for
        transgender people: An analysis of data from the Wisconsin transgender community
        health assessment. International Journal of Transgenderism, 19, 59-63.
    53. Katz-Wise, Budge, S.L. Fugate, E., Flanagan, K., Touloumtzis, C., Rood, B…Leibowitz,
        S. (2017). Transactional pathways of transgender identity development in transgender
        and gender nonconforming youth and caregiver perspectives from the Trans Youth
        Family Study. International Journal of Transgenderism,18, 243-263.
    54. Nienhuis, J. B., Owen, J., Valentine, J. C., Black, S. W., Halford, T. C. , Parazak, S.
        E., Budge, S., & Hilsenroth, M. J. (2018). Therapeutic alliance, empathy, and
        genuineness in individual adult psychotherapy: A meta-analytic review. Psychotherapy
        Research, 28, 593-605.
    55. Budge, S.L., Israel, T., Merrill, C. (2017). Improving the lives of sexual
        and gender minorities: The promise of psychotherapy research. Journal of Counseling
        Psychology, 64, 376-384.
    56. Budge, S.L., Chin, M.Y. , & Minero, L.P. (2017). Trans individuals’ facilitative coping:
        An analysis of internal and external processes. Journal of Counseling Psychology, 64, 12-
        25.




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Stephanie Budge CV 2024



    57. ° Imel, Z.E., Budge, S.L., & Owen, J. (2017). Introduction to special section on advanced
        methodology: Counseling the dog to wag its methodological tail. Journal of Counseling
        Psychology, 64, 601-603.
    58. Katz-Wise, S. L., Williams, D. N., Keo-Meier, C. L., Budge, S. L., Pardo, S., & Sharp,
        C. (2017). Longitudinal associations of sexual fluidity and health in transgender men and
        cisgender women and men. Psychology of sexual orientation and gender diversity, 4,
        460-471
    59. ° Matsuno, E. & Budge, S.L. (2017). Non-binary/genderqueer identities: A critical
        review of the literature. Current Sexual Health Reports, 9, 116-120.
    60. Katz-Wise, S.L., Reisner, S.L., White, J.M., & Budge, S.L. (2017). Self-reported
        changes in attractions and social determinants of mental health in transgender adults.
        Archives of Sexual Behavior, 46, 1425-1439.
    61. Budge, S.L. & dickey, l.m. (2017). Barriers, challenges, and decision-making in the letter
        writing process for gender transition. Psychiatric Clinics, 40, 65-78.
    62. Katz-Wise, S.L., Budge, S. B., Orovecz, J.O. , Nguyen, B., & Thompson, K. (2017).
        Imagining the Future: Qualitative findings of future orientation from the Trans Youth
        Family Study. Journal of Counseling Psychology, 64, 26-40.
    63. Budge, S.L. (2016). To err is human: An introduction to the special issue on clinical
        errors. Psychotherapy, 53, 255-256.
    64. Sinnard, M. , Raines, C. , & Budge, S.L. (2016). The association between geographic
        location and anxiety and depression in transgender individuals: An exploratory study of
        an online sample. Transgender Health, 1, 181-186.
    65. Budge, S.L. & Pankey, T.L. (2016). Ethnic differences in gender dysphoria. Current
        Psychiatry Reviews, 12, 175-180.
    66. dickey, l.m., Budge, S.L., Katz-Wise, S.L., & Garza, M.V. (2016). Health disparities in
        the transgender community: Exploring differences in insurance coverage. Psychology of
        Sexual Orientation and Gender Diversity, 3, 275-282.
    67. Barr, S.M. , Budge, S.L., & Adelson, J.L. (2016) Transgender community belongingness
        as a mediator between strength of transgender identity and well-being. Journal of
        Counseling Psychology, 63, 87-97.
    68. Budge, S.L., Thai, J.L., Tebbe, E., & Howard, K.H. (2016) The intersection of
        socioeconomic status, race, sexual orientation, transgender identity, and mental health
        outcomes. The Counseling Psychologist, 44, 1025-1049.
    69. Tebbe, E.A. & Budge, S.L. (2016) Research with transgender communities: Applying a
        process-oriented approach to methodological considerations and research
        recommendations. The Counseling Psychologist, 44, 996-1024.
    70. Moradi, B., Tebbe, E., Brewster, M., Budge, S.L., Lenzen, A., Enge, E…Painter, J.
        (2016). A content analysis of trans people and issues: 2002-2012. The Counseling
        Psychologist, 44, 960-995.
    71. Tebbe, E.A., Moradi, B., & Budge, S.L. (2016). Enhancing scholarship focused on trans
        people and issues. The Counseling Psychologist, 44, 950-959.
    72. Budge, S.L. (2015). Psychotherapists as gatekeepers: An evidence-based case-study
        highlighting the role and process of letter-writing for transgender clients. Psychotherapy,
        52, 287-297.




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    73. Kopta, M., Owen, J.J., & Budge, S.L. (2015). Measuring psychotherapy outcomes with
        the Behavioral Health Measure-20: Efficient and comprehensive. Psychotherapy, 52,
        442-448.
    74. Watkins, C.E., Budge, S.L., & Callahan, J.L. (2015). Common and specific factors
        converging in psychotherapy supervision: A supervisory extrapolation of the
        Wampold/Budge psychotherapy relationship model. Journal of Psychotherapy
        Integration, 25, 214-235.
    75. Owen, J.J., Adelson, J.L., Budge, S.L., Wampold, B.E., Kopta, M., Minami, T., &
        Miller, S.D., (2015). Trajectories of change in short-term psychotherapy. Journal of
        Clinical Psychology, 71, 817-827.
    76. Budge, S.L. (2015). The effectiveness of psychotherapeutic treatments for personality
        disorders: A review and critique of current research practices. Canadian Psychology, 56,
        191-196.
    77. Owen, J.J., Adelson, J.L., Budge, S.L., Reese, R.J., & Kopta, M.M. (2015). Good-
        Enough Level and Dose-Effect models: Variation among outcomes and therapists.
        Psychotherapy Research, 26, 22-30.
    78. Katz-Wise, S.L. & Budge, S.L. (2015). Cognitive and interpersonal identity processes
        related to mid-life gender transitioning in transgender women. Counselling Psychology
        Quarterly, 28, 150-174.
    79. Budge, S.L., Orovecz, J., & Thai, J.L. (2015). Trans men’s positive emotions: The
        interaction of gender identity and emotion labels. The Counseling Psychologist, 43, 404-
        434.
    80. Budge, S. L., Keller, B.L., & Sherry, A. (2015) A qualitative investigation of lesbian,
        gay, bisexual, and queer women’s experiences of sexual pressure. Archives of Sexual
        Behavior, 44, 813-824.
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BLOGS

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nonbinary clients. https://www.apa.org/pubs/highlights/spotlight/issue-227

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A randomized controlled pilot trial. JKXComics. Available at:
https://www.jkxcomics.com/psychotherapy

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Wisconsin: A report of the 2017 Wisconsin Transgender Youth Community Needs Assessment.
Available at: https://www.med.wisc.edu/media/medwiscedu/documents/about-us/CH-174891-
18-TNG-Youth-Report-Full.pdf

PRACTICE REPORTS

Matsuno, E., Webb, A., Hashtpari, H., Budge, S.L., Krishnan, M., & Balsam, K. (2021).
Nonbinary fact sheet. A publication for the Society for the Psychological Study of Lesbian, Gay,
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identities fact sheet. A publication for the Society for the Psychological Study of Lesbian, Gay,
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Budge, S.L. (2015). Critical considerations in writing letters for trans clients. Available at:
https://societyforpsychotherapy.org/critical-considerations-in-writing-letters-for-trans-clients/

CURRICULUM GUIDE

McGinley, M., Christie, M. B., Clements, Z., Goldbach, C. M., Kraus, E., Woznicki, N. W.,
Breslow, A. S., Budge, S. L., & Matsuno, E. (2020). A resource for incorporating trans and
gender diverse issues into counseling psychology curricula. APA Division 17 Special Task
Group, Making Room at the Table: Trans/Nonbinary Pipeline to Counseling Psychology.
Available at: http://www.pendeldot.org/wp-content/uploads/2021/07/Incorporating-Trans-and-
Gender-Diverse-Issues-into-Counseling-Psychology-Curricula.pdf


SUBMITTED RESEARCH SUPPORT

National Institute on Child Health and Human Development, R01                     3/2025-3/2030
National Institute of Health, $3,500,000 (resubmitted)
This grant focuses on testing the efficacy of the Trans Teens and Family Narratives toolkit in
family therapy and in social support groups.
Role: Co-Investigator (PI Sabra Katz-Wise)

National institute of Mental Health, R01                                       8/2025-8/2026
National Institute of Health, $1,453,717—submitted
This grant focuses on transgender and non-binary communities affected by HIV (The RADAR
Cohort Study of Multilevel Influences on HIV and Substance Use).
Role: Consultant (Dual PIs: Mustanski and Newcomb)

FUNDED RESEARCH SUPPORT

Institute for Diversity Science Grant                                               09/2024-08/2025
University of Wisconsin-Madison, $44,000
Seed grant to fund a graduate student (L. Lindley) test an online intervention providing coping
skills to transgender and nonbinary people; the first phase is a feasibility analysis and the second
phase is an RCT.
Role: PI (dual PI with L. Lindley)

National Institute on Minority Health and Health Disparities, R01                 8/2024-2/2029
National Institute of Health, $3,828,410
This grant focuses on developing and measuring a social support instrument for transgender and
nonbinary people with the intent of creating community toolkits for LGBTQ+ community
organizations.
Role: Principal Investigator (dual-PI with E. Tebbe)

Vilas Mid-Career Grant                                                            07/2024-06/2027
University of Wisconsin-Madison, $75,000




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National Institute of Mental Health, K23                                       6/2024-5/2029
National Institute of Health, $988,740
This grant focuses on addressing trauma to improve HIV prevention and care engagement in
community clinics that provide care to trans women.
Role: Mentor (PI: Baguso)

Mental Research Institute Grant                                                   5/2024-8/2025
Mental Research Institute, $25,000
This grant focuses on coding psychotherapy sessions with trans people of color to assess the
impact of radical healing techniques in psychotherapy.
Role: PI

Institute for Diversity Science Grant                                            09/2023-06/2024
University of Wisconsin-Madison, $44,666
Analyzing qualitative data to determine previous therapy experiences for trans people of color
and to determine mechanisms of change for a psychotherapy study for trans people of color;
observational coding of therapy sessions regarding therapeutic alliance for trans people of color.
Role: PI

Reilly-Baldwin Project Grant                                               07/2023-07/2024
University of Wisconsin-Madison, $120,000
Mentoring a student (L. Lindley) on a grant focused on designing and testing a web app focusing
on providing coping skills to transgender and nonbinary people.
Role: PI (dual PI with L. Lindley)

Baldwin Seed Grant                                                         07/2023-07/2024
University of Wisconsin-Madison, $4,000
Mentoring a student (J. Lee) on a grant focused on family attachment processes and PTSD for
transgender and nonbinary people.
Role: PI (dual PI with J.Lee)

National Center for Advancing Translational Science, U01                     7/2022-06/2027
National Institute of Health, $8,745,944
This Clinical and Translational Sciences Award (CTSA) at University of Wisconsin-Madison
(UW) supports innovation, training and development of evidence-based approaches to speed
effective interventions into health and health care. Project number: 2UL1TR002373-06
Role: Collaborator (PI: Brasier)

National Institute on Minority Health and Health Disparities, U01                     9/2022-5/2027
National Institute of Health, $1,063,616
This administrative grant focuses on Northern Arizona University’s (NAU’s) Southwest Health
Equity Research Collaborative (SHERC) to establish community-engaged priorities and strategic
plans for addressing a wide range of health disparities; provide the institutional infrastructure for
SHERC targeted research projects. Project number: 5U54MD012388
Role: Consultant (PI: Baldwin)




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School Mental Health Collaborative IES Grant                                      9/2022-9/2024
Institute of Education Training Grant
This grant focuses on training postdoctoral trainees in innovative research methods that will
impact communities experiencing marginalization
Role: Collaborator

Young Investigator Grant                                                         9/2022-9/2024
American Foundation for Suicide Prevention, $90,000
This grant focuses on using EMA methods to assist therapists with intervening for transgender
adult clients experiencing suicidal ideation.
Role: Co-Investigator

Diverse & Resilient Community Grant                                                   9/2021-9/2022
Diverse & Resilient, $20,000
Community grant focusing on a program evaluation regarding a training for mental health
providers to infuse radical healing into their practice and to reduce internalized stigma.
Role: PI

Understanding and Reducing Inequities Initiative                                 7/2021-7/2023
University of Wisconsin-Madison, $250,000
Study focusing on creating a psychotherapy intervention for trans and nonbinary people that
includes radical healing and skills to reduce internalized transnegativity.
Role: PI (dual PI with E. Tebbe)

Baldwin Seed Grant                                                       07/2021-07/2022
University of Wisconsin-Madison, $4,000
Mentoring student (L. Lindley) on a grant focused on coping mechanisms for transgender and
nonbinary people.
Role: PI (dual PI with L.Lindley)

2030 Faculty Fellowship Funds                                                 8/2020-8/2025
University of Wisconsin-Madison, $100,000
Funds to support community-based research focused on improving mental health and wellness
for transgender and nonbinary people.
Role: PI

Baldwin Seed Grant                                                        06/2019-06/2020
University of Wisconsin-Madison, $4,000
Mentoring student (M. Sinnard) on a grant focused on objectified body consciousness for trans,
nonbinary, and gender nonconforming individuals.
Role: PI (dual PI with M.Sinnard)

Online Course Development Grant                                              01/2019-9/2020
University of Wisconsin-Madison, $15,000




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This grant funds university faculty to design new and innovative courses at UW-Madison. The
funding will cover the creation of a course called “Gender and Queer Issues In Psychology” set
to begin in Summer 2020.
Role: Instructor

Fall Research Competition                                                 6/2018 – 6/2019
University of Wisconsin-Madison, $34,000
Research project determining the effectiveness of psychotherapy interventions focused on
minority stressors for transgender clients.
Role: PI

UW Institute for Clinical Research (ICTR)                                 6/2017 – 6/2018
Health Equity and Diversity (AHEAD) research pilot award, $10,000
Research project determining the effectiveness of psychotherapy interventions focused on
minority stressors for transgender clients.
Role: PI

National Institute of Health                                             1/2017 – 1/2019
NICHD, R21, $206,028
Structured pubertal suppression readiness assessment for gender dysphoric youth.
Role: Collaborator

Gaining STEAM                                                                5/2018 – 5/2019
JKX Comics, $4800
Grant awarded to scientists to pair with a comic book artist to create visual representation
of scientific content.
Role: Collaborator

Fall Research Competition                                                 5/2017 - 9/2018
University of Wisconsin-Madison, $60,000
Supplemental research project for the NIH grant (listed below) focusing on pubertal
suppression for transgender youth.
Role: PI

Wisconsin Partnership Program                                               6/2016 – 6/2018
Community Opportunity Grant, $50,000
A grant that assists with opportunities focused on transgender health and equity in health
care.
Role: Collaborator

UW Institute for Clinical Research (ICTR)                               6/2016 – 6/2018
Health Equity and Diversity (AHEAD) research pilot award, $10,
Research project advancing the Wisconsin Survey of Trans Youth: An Assessment of
Resources and Needs.
Role: Co-investigator




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Faculty Research Development Grant                                      10/2012 - 10/2013
University of Louisville, $2,200
Research project testing psychotherapy process and outcomes for transgender individuals.
Role: PI

Faculty Research Development Grant                                             9/2011- 9/2012
University of Louisville, $2,200
Research project regarding positive experiences of transgender identity and intersectionality of
identities with genderqueer individuals.
Role: PI

Charles J. Gelso Research Grant                                               6/2010 – 6/2012
American Psychological Association (Division 29), $2,000
Meta-analysis project focusing on personality disorders and treatment effectiveness.
Role: PI

INTERNATIONAL PRESENTATIONS
°Invited; Underlining denotes student;

    1. Pu, Y., Budge, S.L., Xu, W. (June, 2025). The Bright Side of Gender Nonconformity
       Among Chinese Cisgender Sexual Minority Individuals: Life Satisfaction, Positive Sexual
       Identity, and Interpersonal Resources. Paper presented at the Hong Kong International
       LGBTQ+ Affirmative Practices Conference. Hong Kong.
    2. Lindley, L. & Budge, S.L. (September, 2024). Sociocultural Messages About Gender
       Dysphoria (Dis)Align with the Lived Experiences of Trans and Nonbinary Individuals: A
       Qualitative Study. Paper presented at the World Professional Association of Transgender
       Health 28th Scientific Symposium. Lisbon, Portugal.
    3. Lindley, L. & Budge, S.L. (September, 2024). Development and Validation of The Trans
       and Nonbinary Coping Measure (TNCM): A Measure of Trans and Nonbinary Specific
       Ways of Coping with Gender-Related Stress. Poster presented at the World Professional
       Association of Transgender Health 28th Scientific Symposium. Lisbon, Portugal.
    4. Lindley, L. & Budge, S.L. (September, 2024). Challenging and Understanding
       Gendered Narratives: The Development and Validation of the Transnormativity Measure
       (TM). Poster presented at the World Professional Association of Transgender Health
       28th Scientific Symposium. Lisbon, Portugal.
    5. Budge, S.L. & Lee, J. (2023, October). Transgender and Nonbinary Mental Health:
       Health Disparities and Protective Factors. Korean Counseling Association/ Korean
       Counseling Psychology Association Conference. Presented virtually to an audience in
       Seoul, Korea.
    6. Budge, S.L. & Lee, J. (2022, July). Understanding and Incorporating Trans-Affirmative
       Therapies When Working With Two Spirit, Trans, and Nonbinary Clients. Korean
       Counseling Association/ Korean Counseling Psychology Association Conference.
       Presented virtually to an audience in Seoul, Korea.
    7. Budge, S.L. (2021, June;). Attending to Power, Privilege, and Oppression in
       Psychotherapy Research. Panel moderator for a plenary session at the Society for
       Psychotherapy Research, Heidelberg, Germany (hybrid model online due to COVID-19).



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    8. Budge, S.L. (2020, October). Mental Health Care for Trans Youth: What Helps Youth
        Thrive and What Resources are Requested? World Professional Association for
        Transgender Health (WPATH) Conference, originally scheduled to be in Hong Kong,
        online due to COVID-19.
    9. Budge, S.L. & Sinnard, M.T. (2020, October). Acceptability and Feasibility of a
        Randomized Controlled Trial with Transgender and Nonbinary Clients. World
        Professional Association for Transgender Health (WPATH) Conference, originally
        scheduled to be in Hong Kong, online due to COVID-19.
    10. Sinnard, M.T & Budge, S.L. (2020, October). Development of the Objectified Body
        Consciousness Scale for Transgender and Nonbinary Adults. World Professional
        Association for Transgender Health (WPATH) Conference, originally scheduled to be in
        Hong Kong, online due to COVID-19.
    11. Allen, B., Rehm, J., Budge, S.L., Botsford, J., & Andert, B. (2018, May). School Safety
        and Support for Transgender Youth with Non-binary vs. Binary Gender Identities.
        Pediatric Academic Societies (PAS) Conference, Toronto, Canada.
    12. Rehm, J., Allen, B., Budge, S.L., Botsford, J., & Andert, B. (2018, May). Transgender
        youth who receive gender related care from a specialized provider differ from other
        transgender youth. Pediatric Academic Societies (PAS) Conference, Toronto, Canada.
    13. Rehm, J., Allen, B., Budge, S.L., Botsford, J., & Andert, B. (2018, May). Increased
        awareness of healthcare needs of youth with nonbinary gender identities is needed.
        Pediatric Academic Societies (PAS) Conference, Toronto, Canada.
    14. Budge, S.L. & Katz-Wise, S.L. (2016, July). Emotional expression of trans youth and
        their families: A cross-comparison of familial cultures for gender and emotions. Paper
        presented at the International Congress of Psychology Conference, Yokohama, Japan.
    15. Chin, M.Y., Minero, L., & Budge, S.L. (2016, July). “This is me, and I am happy. I love
        it”: Understanding Internal Coping Processes of Trans-identified Individuals using
        Grounded Theory. Paper presented at the International Congress of Psychology
        Conference, Yokohama, Japan.
    16. Budge, S.L., Katz-Wise, S.L., Conniff, J., Belcourt, S., & Parks, R. (2016, July).
        Developmental processes of coping for trans youth: Results from the Trans Youth and
        Family Study (TYFS). Paper presented at the World Professional Association for
        Transgender Health Biannual Conference, Amsterdam, The Netherlands.
    17. Sinnard, M., Raines, C., & Budge, S.L. (2016, July). Effects of location and transition
        status on anxiety and depression in trans individuals. Paper presented at the World
        Professional Association for Transgender Health Biannual Conference, Amsterdam, The
        Netherlands.
    18. Budge, S.L. & salkas, s. (2016, July). An overview of non-binary gender identities in the
        National Transgender Discrimination Survey, Paper presented at the World Professional
        Association for Transgender Health Biannual Conference, Amsterdam, The Netherlands.
    19. Orovecz, J., salkas, s., & Budge, S.L. (2016, July). External identity processes for
        individuals with non-binary identities. Paper presented at the World Professional
        Association for Transgender Health Biannual Conference, Amsterdam, The Netherlands.
    20. Rossman, K., Sinnard, M., & Budge, S.L. (2016, July). The externalization of affect for
        individuals with non-binary gender identities. Paper presented at the World Professional
        Association for Transgender Health Biannual Conference, Amsterdam, The Netherlands.




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    21. Hase, C.N., Reiland, M.T., Budge, S.L. (2015, August). “Omitting none:” Experience of
        people of color in a primarily white meditation community. Poster presented at American
        Psychological Association. Toronto, ON.
    22. Akinniyi, D.A. & Budge, S.L. (2015, August). Genderqueer individuals’
        conceptualizations of multiple identities: A qualitative investigation using identity maps.
        Paper presented at the Annual Meeting for the American Psychological Association,
        Toronto, Canada.
    23. Sinnard, M. & Budge, S.L. (2015, August). Effects of location and transition status on
        anxiety and depression in trans individuals. Poster presented at the Annual Meeting for
        the American Psychological Association, Toronto, Canada.
    24. Watkins, C.E., Budge, S.L., & Wampold, B.E. (2015, August). Extrapolating the
        Wampold/Budge psychotherapy relationship model to psychotherapy supervision. Paper
        presented at the Annual Meeting for the American Psychological Association, Toronto,
        Canada.
    25. Budge, S.L. (2014, February). Developmental processes of positive emotions for trans
        individuals: The interplay of interpersonal emotions and transition appraisal. Paper
        presented at the World Professional Association for Transgender Health Biannual
        Conference, Bangkok, Thailand.
    26. Budge, S.L., Adelson, J.L., & Howard, K.A.S. (2014, February). Transgender and
        Genderqueer individuals’ mental health concerns: A moderated mediation analysis of
        social support and coping. Paper presented the World Professional Association for
        Transgender Health Biannual Conference, Bangkok, Thailand.

NATIONAL PRESENTATIONS
°Invited; Underlining denotes student;

    1. Barburoğlu, Y., Tu, R., Tebbe, E.A., & Budge, S.L. (2025, May). Exploring Client
       Perceptions of Radical Healing and Internalized Stigma Frameworks: Insights from a
       Clinical Trial with 2STNB BBPOC Clients. Presentation given at the National
       Transgender Health Summit, San Francisco, CA.
    2. Lynn, S., Ben, L., Tebbe, E.A., & Budge, S.L. (2025, May). Qualitative Findings
       Regarding Telehealth Benefits and Challenges for Two-Spirit, Transgender, and
       Nonbinary (2STNB) People of Color. Presentation given at the National Transgender
       Health Summit, San Francisco, CA.
    3. Gao, S., Domínguez, S., Tebbe, E.A., & Budge, S.L. (2025, May). Recruitment and
       Retention of Transgender and Nonbinary People of Color for a Psychotherapy Open
       Clinical Trial. Presentation given at the National Transgender Health Summit, San
       Francisco, CA.
    4. Lindley, L., & Budge, S.L. (2025, May). Addressing Gender Dysphoria in Therapy:
       Evidence-Based Coping Strategies for Transgender and Nonbinary Clients. Workshop
       given at the National Transgender Health Summit, San Francisco, CA.
    5. Norton, M., Lee, J., Adames, H., Tebbe, E.A., & Budge, S.L. (2025, May). Developing a
       coding book for radical healing in a clinical trial for 2STNB BBOC: Research and
       clinical implications. Presentation given at the National Transgender Health Summit, San
       Francisco, CA.




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    6. Lindley, L. & Budge, S.L. (2025, May). Enhancing Coping Skills and Reducing Gender
        Dysphoria: The Impact of the Free Online Trans Care Intervention. Presentation given at
        the National Transgender Health Summit, San Francisco, CA.
    7. Budge, S.L., Tebbe, E.A., Jarugumilli, L., Gao, S., Graves, S., Zepnick, A., &
        Schwebach, M. (2025, May). Two Spirit, transgender, and nonbinary community leaders’
        conceptualizations of social support for transgender and nonbinary populations.
        Presentation given at the National Transgender Health Summit, San Francisco, CA.
    8. Day, E., Norton, M., Accardo, M., & Budge, S.L. (May, 2025). Research and Clinical
        Implications from Understanding Helpful and Harmful Dynamics within the Previous
        Therapy Experiences of Two-Spirit Trans Nonbinary, Black, and Brown People of Color.
        Presentation given at the National Transgender Health Summit, San Francisco, CA.
    9. Hoelscher, E., Victor, S., & Budge, S.L. (2025, April). Inclusive Care? Transgender
        People's Experiences in Inpatient Psychiatric Care and Future Suicide Disclosures.
        Poster presented at the annual Suicide Research Symposium by the American Foundation
        of Suicide Prevention. Online Conference.
    10. Kim, H., Rainboth, K, Lee, J., & Budge, S.L. (2024, September). The Companionship
        Model for Gender Affirming Care: A Guide for Clinicians. Paper presented at the Gay
        and Lesbian Medical Association (GLMA), Charlotte, North Carolina.
    11. Budge, S.L. (August, 2024). Conversations with LGBTQ+ Psychologists: Promoting
        PRIDE in Advocacy for Graduate Training. Panel presentation provided at the annual
        meeting of the American Psychological Association. Seattle, WA.
    12. McGuirk, A., Lindley, L., Pulice-Farrow, L., & Budge, S.L. (August, 2024). Clinical
        Implications of a Qualitative Analysis focused on Gender Dysphoria. Poster presented at
        the annual meeting of the American Psychological Association. Seattle, WA.
    13. Dyer, R. & Budge, S.L. (Auguest, 2024). Are We On the Same Page?: Psychologists' and
        Gestational Carriers' Perceptions of Evaluations. Poster presented at the annual meeting
        of the American Psychological Association. Seattle, WA.
    14. Lindley, L. & Budge, S.L. (August, 2024). Feasibility and Acceptability of an Online
        Intervention for Gender Dysphoria. Symposium presented at the annual meeting of the
        American Psychological Association. Seattle, WA.
    15. Gao, S., Wachter, E., Barburoğlu, Y., Lynn, S., Dvorak, D., Gilchrist, S., Elliott, G.,
        Budge, S.L, & Katz-Wise, S.L. (2024, August). A Qualitative Longitudinal Analysis of
        Family Agreement on Trans and Nonbinary Youth Identity Poster presented at the
        American Psychological Association Convention, Seattle, WA
    16. Norton, M., Accardo, M., Gao, S., Day, E., McNeill, J. N., Tebbe, E., & Budge, S.L.
        (2024, August). Previous therapy experiences of Two-Spirit, transgender, and
        nonbinary people of color. Symposium presentation at the Annual Convention of the
        American Psychological Association: Seattle, WA.
    17. Lee, J., Mize, G., Pili, A., Tebbe, E., & Budge, S.L. (2024, August). Trans/nonbinary
        POC clients’ perceptions of change specific to therapy goals. Symposium presentation
        at the Annual Convention of the American Psychological Association: Seattle, WA.
    18. Domínguez, S., Budge, S.L., Tebbe, E., Lindley, L., Lee, J., & Matsuno, E. (2024,
        August). Clinical trial 6-month follow-up analyses with Two-Spirit, trans, and
        nonbinary clients of color. Symposium presentation at the Annual Convention of the
        American Psychological Association: Seattle, WA.




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    19. Estevez, B., Flinn, R.E., Boot-Haury, J., Terepka, A., Skerven, K., Abreu, R.L., Barr,
        S., Budge, S.L. (2024, August). Until everyone is free: Centering personal and
        collective well-being in TGD advocacy. Panel for a critical conversation at the Annual
        Convention of the American Psychological Association: Seattle, WA.
    20. Domínguez, S., Budge, S.L., Gloria, A.M., Johnson, A.L., & Lotta, C. (2024, August).
        A Discourse Analysis of Multiply Marginalized Trans People’s Stories of Gender
        Euphoria. Paper presentation presented at the Annual Convention of the American
        Psychological Association: Seattle, WA.
    21. McGuirk, A., Lindley, L., Lee, J., Norton, M., & Budge, S.L. (2024, August). How
        Messages About Gender Dysphoria (Dis)Align with Lived Experiences of Trans and
        Nonbinary People. Paper presentation presented at the Annual Convention of the
        American Psychological Association: Seattle, WA.
    22. Kim, H., Lee, J., Budge, S.L., Dominguez, S., & Tebbe, E. (November, 2023).
        Informed Consent & the Companionship Model: An Alternative to Gatekeeping. Paper
        presented at the American Psychiatric Association Mental Health Services Conference,
        Washington, DC.
    23. Domínguez, S. Jr., Budge, S. L., Tebbe, E., Norton, M., Lee, J., Lindley, L., & mcneill, j.
        n. (2023, May). Longitudinal analyses from an open psychotherapy clinical trial with
        Two-Spirit, trans, and nonbinary clients of color. Paper presented at the National
        Transgender Health Summit. San Francisco, California.
    24. Lee, J., Budge, S.L., Dominguez, S. Jr., Tebbe, E. (2023, May). From gatekeeping to a
        companionship model: How to write referral letters for trans and nonbinary individuals.
        Paper presented at the National Transgender Health Summit. San Francisco, California.
    25. Lindley, L. & Budge, S.L. (2023, May). For us, by us: Trans centered development and
        psychometric validation of measures of gender minority stress. Paper to be presented at
        the National Transgender Health Summit. San Francisco, California.
    26. Lee, J., Gao, S., Dominguez, S. Jr., Norton, M., Budge, S.L, Tebbe, E. (2023, May).
        Understanding the Psychotherapy Goals of Two-Spirit, Transgender, and Nonbinary
        People of Color from the First Psychotherapy Trial Study for TPOC. Paper presented at
        the National Transgender Health Summit. San Francisco, California.
    27. Domínguez, S. Jr., Norton, M., mcneill, j. n., Lee, J., Tebbe, E., & Budge, S. L. (2023,
        May). Cultivating trust and communicating effectively: Building a community advisory
        board for community-based participatory research. Workshop presented at the National
        Transgender Health Summit. San Francisco, California.
    28. Gao, S., Wachter, E., Barburoğlu, Y., Lynn, S., Dvorak, D., Gilchrist, S., Elliott, G.,
        Budge, S.L, & Katz-Wise, S.L. (2023, May). How Do Families Understand Transgender
        and Nonbinary Youths’ Identity Processes? A Longitudinal Qualitative Investigation of
        Pairwise Agreement. Paper presented at the National Transgender Health Summit. San
        Francisco, California.
    29. Barburoğlu, Y., Gao, S., Elliott, G., Wachter, E., Gilchrist, S., Dvorak, D., Lynn, S.,
        Budge, S.L., & Katz-Wise, S.L. (2023, May). A Longitudinal Investigation of Gender
        Identity Fluctuations among Transgender and Nonbinary Youth. Paper presented at the
        National Transgender Health Summit. San Francisco, California
    30. Klessig, C., Dyer, R. L., Teasdale, T., Weber, I. J., & Budge, S. L. (2022). “In most
        cases, abortion is understandable”: A qualitative investigation of psychotherapists’




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        abortion attitudes. Poster presented at the 2022 American Psychological Association
        Annual Convention, Minneapolis, MN.
    31. Teasdale, T., Dyer, R. L., Weber, I. J., Klessig, C., & Budge, S. L. (2022). Exploring the
        impact of benevolent sexism on mental health clinicians’ abortion attitudes. Poster
        presented at the 2022 American Psychological Association Annual Convention,
        Minneapolis, MN.
    32. Weber, I. J., Dyer, R. L., Klessig, C., Teasdale, T., & Budge, S. L. (2022). Mental health
        clinicians’ attitudes about classism and client pregnancy decisions. Poster presented at
        the 2022 American Psychological Association Annual Convention, Minneapolis, MN.
    33. Smith, C. L., Zubizarreta, D., Budge, S. L., Watson, R. J., Gordon, A. R., Austin, S. B.,
        & Katz-Wise, S. L. (2022, August). Risk and protective factors related to body image
        and disordered eating in a longitudinal study of Transgender and Nonbinary
        adolescents. Poster presented at the American Psychological Association Convention,
        Minneapolis, Minnesota.
    34. Guan, T., Pham, C., & Budge, S.L. (2022, August). Disrupting white supremacy in
        psychology training: Recommendations to support trainees of color. Poster presented at
        the American Psychological Association Convention, Minneapolis, Minnesota
    35. Lee, J. & Budge, S.L. (2022, August). Moving From Gatekeeping to a Companionship
        Model in Letter Writing for TNB Individuals. Poster presented at the American
        Psychological Association Convention, Minneapolis, Minnesota.
    36. Dominguez, Jr. S., & Budge, S.L. (2022, August). Using CBPR in Psychotherapy
        Research to Undermine Gatekeeping Practices. Paper presented at the American
        Psychological Association Convention, Minneapolis, Minnesota.
    37. Lee, J., Dominguez Jr., S., Matsuno, E., Norton, M., Lindley, L., Tebbe, E., & Budge,
        S.L. (2022, August). Mixed-Methods Results from Gender, Resilience and Resistance,
        Empowerment, and Affirmation Training. Paper presented at the American Psychological
        Association Convention, Minneapolis, Minnesota
    38. Dominguez Jr., S. Budge, S.L., Tebbe, E.A., Norton, M., Lee, J., Lindley, L., & mcneill,
        j. (2022, August). Baseline data from an open psychotherapy trial with Two-Spirit,
        Trans, & Nonbinary Clients of Color. Paper presented at the American Psychological
        Association Convention, Minneapolis, Minnesota.
    39. Budge, S.L. (2022, August). Changing Cisnormative Spaces: Improving Access to
        Psychotherapy and Educational Spaces for Trans and Nonbinary People. Fellows talk
        provided at the American Psychological Association Convention, Minneapolis,
        Minnesota.
    40. Smith, C. L., Zubizarreta, D., Budge, S. L., Watson, R. J., Gordon, A. R., Austin, S. B.,
        & Katz-Wise, S. L. (2022, June). Longitudinal associations of risk and protective factors
        on body image and disordered eating among Transgender and Nonbinary youth. Paper
        presented at the International Conference of Eating Disorders, Virtual Conference.
    41. °Budge, S.L. (2021, August). Gab with the greats. An invited panelist for Division 29
        Society for the Advancement of Psychotherapy at the annual America Psychological
        Association National Convention, Virtual Conference.
    42. Budge, S.L. (2021, August). Attending to Power, Oppression, and Healing with Trans,
        Nonbinary, and Queer Populations. Chair of symposium presented at a mini symposium
        at the at the annual America Psychological Association National Convention, Virtual
        Conference.



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    43. Elliott, G., Domínguez, S. Jr., & Budge, S. L. (2021, August). A Case Study Approach to
        Using a Strong Intersectional Lens in Therapy with Trans and Nonbinary Clients. Paper
        presented at a mini symposium at the at the annual America Psychological Association
        National Convention, Virtual Conference.
    44. Norton, M., Domínguez, S. Jr., Elliot, G., & Budge, S. L. (2021, August). Dismantling,
        Decolonizing, and Deconstructing: Engaging the Possibilities within a Critical Lab
        Praxes. Paper presented at a mini symposium at the at the annual America Psychological
        Association National Convention, Virtual Conference.
    45. McNeill, J. & Budge, S.L. (2021, August). Theory and Practice of Radical Healing for
        Queer and Trans Black and Indigenous People of Color. Paper presented at a mini
        symposium at the at the annual America Psychological Association National Convention,
        Virtual Conference.
    46. Lee, J., Hoyt, W.T., Budge. S.L., & Lee, B. (2021, August). Parental attachment and
        internalized transnegativity among Korean TNB populations: Role of Self-shame,
        Rejection Sensitivity, and self-concept clarity. Poster presented at the American
        Psychological Association Convention. Virtual Conference due to COVID-19.
    47. Lindley, L. & Budge, S.L. (2021, August). Development of the Transgender/Nonbinary
        Coping Measure. Poster presented at the American Psychological Association
        Convention. Virtual Conference due to COVID-19.
    48. Veldhuis, C.B., Budge, S.L., Velez, B., Galupo, M.P., Cascalheira, C., Renteria, R., &
        Delucio, K. (2021, August). Thought-Provoking Conversations about LGBTQIA+
        Research. Panelist at the American Psychological Association Convention. Virtual
        Conference due to COVID-19.
    49. Katz-Wise, S., Vishnudas, S., Smith, C., Marchwinski, B., Budge, S.L., Godwin, E.,
        Moore, L., Ehrensaft, D., Rosal, M.C., Thomson, K. (2021, May). Family Functioning
        and Mental Health: A Two-Year Longitudinal Study of Families with Transgender and/or
        Nonbinary Youth. Paper presented at the LGBTQ Health Conference. Virtual Conference
        due to COVID-19.
    50. Dyer, R.L. & Budge, S.L. (2021, March). Psychotherapist attitudes about client
        pregnancy decision-making: Developing a scale. Paper presented at the Association for
        Women in Psychology. Virtual Conference due to COVID-19.
    51. Budge, S.L., Velez, B., Mohr, J., Moradi, B., Puckett, J., & Matsuno, E. (2020, August).
        Taking the mystery out of publishing LGBTQ research: Lessons learned. Symposium
        accepted at the 2020 American Psychological Association Convention, Washington, D.C.
    52. Budge, S.L., Sinnard, M.T., & Hoyt, W.T. (2020, August). Minority stress outcomes
        during and post psychotherapy: 6-month follow-up results for trans clients. Paper
        accepted at the 2020 American Psychological Association Convention, Washington, D.C.
    53. Tao, K., Paquin, J., & Budge, S.L. (2020, April). Using a counseling psychology lens to
        propose and implement a social justice framework for ethical psychotherapy research.
        Symposium accepted at the 2020 Counseling Psychology Conference, New Orleans,
        Louisiana. Conference cancelled due to COVID-19.
    54. Dyer, R.L. & Budge, S.L. (2020, April). Qualitative examination of transgender clients’
        reflections on discussing minority stress with psychotherapists. Poster to be presented at
        the 2020 Counseling Psychology Conference, New Orleans, Louisiana. Conference
        cancelled due to COVID-19.




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    55. Domínguez, S. Jr., Budge, S. L. (2020, April). The Social and Internal Aspects of Gender
        Dysphoria Scale (SIAGD): A community-engaged measure for gender dysphoria. Poster
        to be presented at the 2020 Counseling Psychology Conference, New Orleans, Louisiana.
        Conference cancelled due to COVID-19.
    56. Domínguez, S. Jr., Budge, S. L., & Goldberg, A. E. (2019, August). Minority stress in
        nonbinary college students: The impact of campus climate and belongingness. Poster
        presented at the 2019 American Psychological Association National Convention,
        Chicago, IL.
    57. Dyer, R. L., Sinnard, M.T., & Budge, S. L. (2019, August). Working alliance and gender
        minority stress: Implications for psychotherapy with trans, nonbinary, and gender
        expansive/nonconforming clients. Poster presented at the 2019 American Psychological
        Association Convention, Chicago, Illinois.
    58. Sinnard, M.T., Dyer, R. L., & Budge, S. L. (2019, August). Effects of identity
        concealment on substance use and suicidality among Midwest trans, nonbinary, and
        gender expansive/nonconforming individuals. Poster presented at the 2019 American
        Psychological Association Convention, Chicago, Illinois.
    59. Schoenike, D., Wachter, E., & Budge, S.L. (2019, August). The Interaction of
        Transgender Identity, Race, and Mental Health: A Nationwide Sample. Poster presented
        at the 2019 American Psychological Association Convention, Chicago, Illinois.
    60. Barcelos, C., Budge, S.L., & Botsford, J. (2019, April). Uneven Access: The Health of
        Trans and Gender Nonconforming People in Wisconsin and the Upper Midwest. Paper to
        be presented at the Annual National Transgender Health Summit, San Francisco, CA.
    61. Bhattacharya, N., Budge, S.L., Pantalone, D., & Katz-Wise, S.L. (2018, November).
        Conceptualizing relationships among transgender and gender nonconforming youth and
        their caregivers. Paper presented at the American Public Health Association Conference,
        San Diego, California.
    62. Budge, S.L., Sinnard, M.T., & Hoyt, W.T. (2018, September). Longitudinal Effects of
        Psychotherapy with Transgender Clients: A 6-month Follow-up. Paper presented at the
        Biennial North American Society for Psychotherapy Research Conference, Snowbird,
        Utah.
    63. Sinnard, M.T. & Budge, S.L. (2018, September). “I Want to Correct Past Harmful
        Counseling Experiences”: Goal Attainment in Psychotherapy with Transgender Clients.
        Paper presented at the Biennial North American Society for Psychotherapy Research
        Conference, Snowbird, Utah.
    64. Budge, S.L. (2018, August). The feasibility of a clinical trial focusing on trans
        individuals’ minority stress. Paper presented at the Annual Meeting for the American
        Psychological Association, San Francisco, California.
    65. Budge, SL., Allen, B., Andert, B., Botsford, J., & Rehm, J. (2018, August). Resources
        contributing to psychological well-being for trans youth: A CBPR Approach. Paper
        presented at the Annual Meeting for the American Psychological Association, San
        Francisco, California.
    66. Sweetnam, M.R., Mauk, E., & Budge, S.L. (2018, August). A qualitative analysis of
        nonbinary and genderqueer individuals’ experiences of proximal and distal minority
        stress. Poster presented at the Annual Meeting for the American Psychological
        Association, San Francisco, California.




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    67. Dillard, S., Sinnard, M.T., Budge, S.L., & Katz-Wise, S.L. (2018, August). Triadic
        analysis of concordance and discordance in families of trans youth. Poster presented at
        the Annual Meeting for the American Psychological Association, San Francisco,
        California.
    68. Mauk, E., Guo, E., Stock, C., Eck, M., & Budge, S.L. (2018, August). Minority stress
        interventions in a psychotherapy pilot trial for transgender clients. Paper presented at the
        Annual Meeting for the American Psychological Association, San Francisco, California.
    69. Orzechowski, M., Budge, S.L., Lavendar, A., Onsgard, K., Schamms, S., Liebowitz, S.,
        & Katz-Wise, S.L. (2018, August). Emotions of transgender youth. Poster presented at
        the Annual Meeting for the American Psychological Association, San Francisco,
        California.
    70. Raines, C.R & Budge, S.L. (2018, August). Measuring masculine sexual entitlement:
        Subscales of a new instrument. Poster presented at the Annual Meeting for the American
        Psychological Association, San Francisco, California.
    71. Sinnard, M.T, Orzechowski, M., Budge, S.L., Belcourt, S., Conniff, J., Orovecz, J.,
        Parks, R., Sun, S., & Sutton, J. (2018, August). Depression and anxiety among
        transgender compared to cisgender Individuals: A meta-analysis. Poster presented at the
        Annual Meeting for the American Psychological Association, San Francisco, California.
    72. Sinnard, M.T., Budge, S.L., & Hoyt, W.T. (2018, August). The effectiveness of
        psychotherapy for transgender clients: A randomized controlled trial. Paper presented at
        the Annual Meeting for the American Psychological Association, San Francisco,
        California.
    73. Sun, S., Hoyt, W.T., & Budge, S.L. (2018, August). Minority stress, HIV risk behaviors,
        and mental health among Chinese men who have sex with men (MSM): A qualitative
        analysis. Poster presented at the Annual Meeting for the American Psychological
        Association, San Francisco, California.
    74. Thomas, K.A., Andert, B., Ibarra, N., Budge, S.L., & dickey, l. (2018, August). Non-
        suicidal self-injury in transgender individuals. Poster presented at the Annual Meeting
        for the American Psychological Association, San Francisco, California.
    75. Dyer, R., Budge, S.L., Rehm, J., Botsford, J., Andert, B., & Allen, B. (2018, August).
        Rural-urban differences in perceived safety at school for Wisconsin trans youth. Poster
        presented at the Annual Meeting for the American Psychological Association, San
        Francisco, California.
    76. Raines, C.R & Budge, S.L. (2018, August). Understanding the relationships between
        masculine sexual entitlement, masculinity, and violence. Poster presented at the Annual
        Meeting for the American Psychological Association, San Francisco, California.
    77. Rehm, J., Botsford, J., Budge, S.L, Andert, B., & Allen, B. (2017, September). Initial
        results of needs assessment for trans and gender expansive youth in Wisconsin. Poster
        presented at the International Joint Meeting of Pediatric Endocrinology, Washington,
        D.C.
    78. Rossman, H. K., Sinnard, M. T., & Budge, S. L. (August, 2017). Bisexuality and
        Consensual Non-Monogamy for Trans Individuals and Their Romantic Partners. Paper
        presented at the Bisexuality Issues Committee Intersectionality Symposium at the Annual
        Meeting for the American Psychological Association in Washington, D.C.
    79. Minero, L.M. & Budge, S.L. (2017, February). Experiences of exclusion and
        discrimination among undocutrans (undocumented and transgender) individuals in the



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        united states and implications for mental health professionals. Paper presented at the
        meeting for the United States Professional Association for Transgender Health, Los
        Angeles, California.
    80. Thai, J.L, Orovecz, J., Budge, S.L. (2017, February) “I was pretty sure I was doing the
        wrongest thing a wrong thing could be done”: A qualitative examination of trans men’s
        experiences of negative emotions. Presentation in a symposium at the US Professional
        Association of Transgender Health, Los Angeles, CA.
    81. Budge, S.L. (2017, February). Evaluating the effectiveness of psychotherapy with trans
        clients: using the working alliance inventory. Paper presented at the meeting for the
        United States Professional Association for Transgender Health, Los Angeles, California.
    82. Budge, S.L. (2016, August). Psychotherapy interventions, process, and outcome with
        transgender and gender non-conforming clients. Chair of invited symposium for Division
        29 at the Annual Meeting for the American Psychological Association, Denver,
        Colorado.
    83. Budge, S.L. (2016, August). The impact of minority stress interventions on
        psychotherapy outcomes with a trans client. Paper presented at the Annual Meeting for
        the American Psychological Association, Denver, Colorado.
    84. Minero, L.M., Chin, M.Y., & Budge, S.L. (2016, August). Transgender clients’ reports
        of characteristics of effective and trans-competent therapists. Paper presented at the
        Annual Meeting for the American Psychological Association, Denver, Colorado.
    85. Budge, S.L. (2016, August). The state and future of psychotherapy research with
        transgender clients. Paper presented at the Annual Meeting for the American
        Psychological Association, Denver, Colorado.
    86. Orovecz, J., Moon, J., & Budge, S.L. (2016, August) Using transgender emotion labels
        to expand on emotion models. Presentation in a symposium at the American
        Psychological Association Annual Convention, Denver, CO.
    87. Minero, L.M., Chin, M.Y., & Budge, S.L. (2016, August). Understanding external
        coping processes of trans-identified individuals using grounded theory. Poster presented
        at the Annual Meeting for the American Psychological Association, Denver, Colorado.
    88. Salkas, S. & Budge, S.L. (2016, August). An overview of US population-based data on
        individuals with non-binary gender identities. Paper presented at the Annual Meeting for
        the American Psychological Association, Denver, Colorado.
    89. Alexander, D., Orovecz, J., Salkas, S., Stahl, A., & Budge, S. L. (2016, August). Internal
        identity processes for individuals with non-binary identities. Paper presented at the
        Annual Meeting for the American Psychological Association, Denver, Colorado.
    90. Rossman, K., Sinnard, M., & Budge, S.L., (2016, August). The "queering" of emotions--
        using non-binary gender identity to label emotional processes. Paper presented at the
        Annual Meeting for the American Psychological Association, Denver, Colorado.
    91. Barr, S. M. & Budge, S.L. (2016, August). Experiences of self esteem and well-being for
        individuals with non-binary gender identities. Paper presented at the Annual Meeting for
        the American Psychological Association, Denver, Colorado.
    92. Chase, A., Lam, J., & Budge, S.L. (2016, August). Culture and masculine ideology:
        measuring masculinity among japanese american men. Poster presented at the Annual
        Meeting for the American Psychological Association, Denver, Colorado.




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    93. Akinniyi, D. & Budge, S.L. (2016, August). The student-athlete experience: Multiple
        minority statuses and discrimination. Poster presented at the Annual Meeting for the
        American Psychological Association, Denver, Colorado.
    94. Budge, S.L. (2016, August). Identity processes, well-being, and emotional processes for
        individuals with non-binary identities. Chair of symposium at the Annual Meeting for the
        American Psychological Association, Denver, Colorado.
    95. Hase, C.N., Meadows, J.D., Budge, S.L. (2016, June). Inclusion and exclusion in the
        white space: An investigation of the experiences of people of color in a primarily white
        american meditation community. Poster presented at Mind & Life Summer Research
        Institute. Garrison, NY.
    96. Budge, S.L. (2015, June). The effectiveness of psychotherapeutic treatments for
        personality disorders: A review and critique of current research practices. Paper
        presented at the Annual Meeting for the Society for Psychotherapy Research,
        Philadelphia, PA.
    97. Kring, M. & Budge, S.L. (2015, June). Re-evaluating outcomes in psychotherapy:
        Considerations beyond self-report. Paper presented at the Annual Meeting for the Society
        for Psychotherapy Research, Philadelphia, PA.
    98. Owen, J. J., Wampold, B.E., Miller, S.D., Budge, S.L., & Minami, T. (2015, June).
        Trajectories of change in short-term psychotherapy: Lessons from growth curve mixture
        modeling. Paper presented at the Annual Meeting for the Society for Psychotherapy
        Research, Philadelphia, PA.
    99. Katz-Wise, S.L. & Budge, S.L. (2015, April). Imaging the future: qualitative findings of
        future orientation from trans youth and parents/caregivers in the Trans Youth Family
        Study. Paper presented at the Annual Transgender Health Summit, Oakland, CA.
    99. Budge, S.L. (2014, August). The other side of the story: trans individuals' experiences of
        positivity and resilience. Symposium chair for the Annual Meeting for the American
        Psychological Association, Washington, DC.
    100.        Budge, S.L. (2014, August). Lessons learned from NIH-grant submission for
        LGBTQ research. Invited panelist for the Annual Meeting for the American
        Psychological Association, Washington, DC.
    100.        Budge, S.L. & Katz-Wise, S.L. (2014, August). Emotional and interpersonal
        experiences of trans youth and their caregivers. Paper presented at the     Annual
        Meeting for the American Psychological Association, Washington, DC.
    101.        Eleazer, J.L., Nguyen, Y., Budge, S.L. (2014, August). “I’m afraid of my
        therapist": Military policy and access-to-care for transgender US service members.
        Paper presented at the Annual Meeting for the American Psychological Association,
        Washington, DC.
    102.        Thai, J.L. & Budge, S.L. (2014, August). Mental health outcomes for trans Asian
        American, Asian, and Pacific Islander populations. Paper presented at the Annual
        Meeting for the American Psychological Association, Washington, DC.
    103.        Alexander, D. & Budge, S.L. (2014, August). The impact of partner support on
        symptoms of anxiety for trans women, trans men, and genderqueer individuals. Poster
        presented at the Annual Meeting for the American Psychological Association,
        Washington, DC.




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    104.       Barr, S.M. & Budge, S.L. (2014, August). Trans identity salience as a predictor
       for well-being and body control beliefs for trans individuals.       Poster presented at
       the Annual Meeting for the American Psychological Association, Washington, DC.
    105.       Keller, B.L., Barr, S.M., & Budge, S.L. (2014, August). Trans women's
       emotional resilience: Reactions to the intersection of sexism and transphobia. Paper
       presented at the Annual Meeting for the American Psychological Association,
       Washington, DC.
    106.       Rossman, H.K., Sinnard, M., Budge, S.L. (2014, August). Adapting a three-tiered
       model of emotions to genderqueer individuals' identity processes. Paper presented at the
       Annual Meeting for the American Psychological Association, Washington, DC.
    107.       Thai, J.L., Orovecz, J., Budge, S.L. (2014, August). Trans men’s experiences of
       positive emotions: An examination of gender identity and emotion labels. Paper presented
       at the Annual Meeting for the American Psychological Association, Washington, DC.
    108.       Tebbe, E.N., Brewster, M., Budge, S.L. (2014, August). A content analysis of
       transgender psychological literature. Poster presented at the Annual Meeting for the
       American Psychological Association, Washington, DC.
    109.       Thai, J.L. & Budge, S.L. (2014, March). Family relationships and outness for
       transgender Asian Pacific Islander individuals. Paper presented at the Society of
       Counseling Psychology Conference, Atlanta, GA.
    110.       Hunter, C. & Budge, S.L. (2014, March). The moderating effect of race related
       to discrimination for transgender individuals. Paper presented at the Society of
       Counseling Psychology Conference, Atlanta, GA.
    111.       Alexander, D. & Budge, S.L. (2014, March). The impact of partner support on
       symptoms of anxiety for trans women, trans men, and genderqueer individuals. Paper
       presented at the Society of Counseling Psychology Conference, Atlanta, GA.
    112.       Barr, S.M. & Budge, S.L. (2014, March). Validation of the Objectified Body
       Consciousness Scale for transgender individuals. Paper presented at the Society of
       Counseling Psychology Conference, Atlanta, GA.
    113.       Budge, S.L. (2013, October). Addressing grief and role transitions for
       transgender
       clients experiencing gender identity incongruence. Paper presented at the Biennial North
       American Society for Psychotherapy Research Conference, Nashville, TN.
    114.       Budge, S.L., Barr, S.M., Katz-Wise, S.L., Keller, B.L., & Manthos, M. (2013,
       June). Incorporating positivity into psychotherapy with trans clients. Workshop
       presented at the Annual Philadelphia Transgender Health Conference, Philadelphia, PA.
    115.       Budge, S.L. & Barr, S.M. (2013, April). Emotional and identity processes of
       trans youth: A developmental approach. Paper presented at the Biennial Society for
       Research on Child Development Conference, Seattle, WA.
    116.       Budge, S.L., Thai, J., Rossman, H.K. (2012, August) Intersecting identities and
       mental health outcomes for transsexual, cross-dressing, and genderqueer individuals.
       Poster presented at the Annual Meeting for the American Psychological Association,
       Orlando, Florida.
    117.       Budge, S.L. & Keller, B.L. (2012, August). “She felt pressured, I felt neglected”:
       LGBQ individuals’ experiences of sexual pressure in relationships. Poster presented at
       the Annual Meeting for the American Psychological Association, Orlando, Florida.




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    118.       Budge, S.L., Moore, J., Neinhuis, J., Baardseth, T., & Wampold, B.E. (2012,
       June). The relative efficacy of bona-fide psychological treatments for personality
       disorders: A meta-analysis of direct comparisons. Paper presented at the Annual
       Meeting for the Society for Psychotherapy Research, Virginia Beach, Virginia.
    119.       Budge, S.L. & Katz-Wise, S.L. (2012, February). Trans-affirmative therapy:
       Focusing on emotional and coping processes throughout gender transitioning. Workshop
       presented at the Transgender Spectrum Symposium, Annual Meeting of the Gay and
       Lesbian Affirmative Psychotherapy Association, New York, New York.
    120.       Budge, S.L. & Katz-Wise, S.L. (2011, November). Transgender emotional and
       coping processes: Facilitative and avoidant coping throughout the gender transition.
       Paper presented at the Annual Meeting for the Society for the Scientific Study of
       Sexuality, Houston, Texas.
    121.       Budge, S.L. & Howard, K.H. (2011, August). Gender socialization and
       genderqueer individuals: The impact of assigned sex on coping and mental health
       concerns. Paper presented at the Annual Meeting for the American Psychological
       Association, Washington, D.C.
    122.       Tebbe, E.L., Budge, S.L., & Fischer, A. (2011, March). Transforming the
       research Goliath: Reflections on research with transgender communities. Roundtable
       presented at the Bi-Annual Meeting of the Association for Women in Psychology,
       Philadelphia, Pennsylvania.
    123.       Budge, S.L. & Howard, K.A.S. (2010, August). Coping, social support, and well-
       being in the transition process for transgender individuals. Paper presented at the Annual
       Meeting for the American Psychological Association, San Diego, California.
    124.       Baardseth, T.P., Budge, S.L., & Wampold, B.E. (2010, August). Allegiance and
       psychotherapy research: The effectiveness of supportive therapy as a control. Poster
       presented at the Annual Meeting for the American Psychological Association, San Diego,
       California.
    125.       Solberg, V.S., Gresham, S.L., Budge, S.L., & Phelps, A.L. (2010, August).
       Impact of learning experiences on students with disabilities career development. Poster
       presented at the Annual Meeting for the American Psychological Association, San Diego,
       California.
    126.       Katz-Wise, S.L., Budge, S.L., & Hyde, J.S. (2010, August). Individuation or
       identification? Objectified body consciousness. Poster presented at the Annual Meeting
       for the American Psychological Association, San Diego, California.
    127.       Solberg, V.S., Gresham, S.L., Budge, S.L., & Phelps, A.L. (2010, August).
       Impact of exposure to quality learning experiences on career development. Paper
       presented at the Annual Meeting for the American Psychological Association, San Diego,
       California.
    128.       Budge, S.L. & Fluckiger, C. (2010, June). Comparison of evidence-based-
       treatments versus treatment as usual: A meta-analysis. Paper presented at the Annual
       Meeting for the Society for Psychotherapy Research, Asilomar, California.
    129.       Budge, S.L. & Howard, K.A.S. (2010, April). Career decision-making in the
       transgender population: The role of barriers and discrimination. Paper presented at the
       Annual Meeting for the American Educational Research Association, Denver, Colorado.
    130.       Budge, S.L., Solberg, V.S., Phelps, L.A., Haakenson, K., & Durham, J. (2010,
       April). Promising practices for implementing Individualized Learning Plans:



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       Perspectives of teachers, parents, and students. Paper presented at the Annual Meeting
       for the American Educational Research Association, Denver, Colorado.
    131.       Solberg, V.S., Gresham, S.L., Phelps, L.A., & Budge, S.L. (2010, April).
       Identifying decision-making patterns and its impact on career development and
       workforce readiness. Paper presented at the Annual Meeting for the American
       Educational Research Association, Denver, Colorado.
    132.       Katz-Wise, S.L., Budge, S.L., & Hyde, J.S. (2010, March). Objectified body
       consciousness and the mother-adolescent relationship. Poster presented at the Biennial
       Meeting for the Society for Research on Adolescence, Philadelphia, Pennsylvania.
    133.       Budge, S. L., Tebbe, E. N., Katz-Wise, S. L., Schneider, C. L., & Howard, K. A.
       (2009, August). Workplace transitions: Work experiences and the impact of transgender
       identity. Paper presented at the Annual Meeting of the American Psychological
       Association, Toronto, Ontario, Canada.
    134.       Katz-Wise, S. L., Budge, S. L., & Schneider, C. L. (2009, August). Navigating
       the gender binary: A qualitative study of transgender identity development. Paper
       presented at the Annual Meeting of the American Psychological Association, Toronto,
       Ontario, Canada.
    135.       Nelson, M. L., Thompson, M. N., Huffman, K. L., & Budge, S. L. (2009,
       August). Development and further validation of the social class identity dissonance scale.
       Paper presented at the Annual Meeting of the American Psychological Association,
       Toronto, Ontario, Canada.
    136.       Dvorscek, M., Budge, S. L., Bluemner, J. L., & Valdez, C. R. (2009, August).
       Health care provider perspectives on Latino patients with depression. Poster presented at
       the Annual Meeting of the American Psychological Association, Toronto, Ontario,
       Canada.
    137.       Neumaier, E. R., Budge, S. L., Bohlig, A. J., Doolin, E. M., & Nelson, M. L.
       (2009, August). I feel masculine but they think I’m feminine: Toward measuring
       experienced gender role. Poster presented at the Annual Meeting of the American
       Psychological Association during the Division 17 Social Hour, Toronto, Ontario,
       Canada.
    138.       Doolin, E. M., Graham, S. R., Hoyt, W. T., Budge, S. L., & Bohlig, A. J. (2009,
       January). Out and about in the South: Defining lesbian communities. Poster presented at
       the National Multicultural Conference and Summit, New Orleans, LA.
    139.       Budge, S. L., Tebbe, E. N. & Howard, K. A. S. (2009, January) Transgender
       individuals' work experiences: Perceived barriers, discrimination, and self-efficacy.
       Paper presented at the Annual Meeting of the Career Conference, Madison, WI.
    140.       Howard, K. A. S., Budge, S. L., Jones, J., & Higgins, K. (2009, January). Future
       plans of urban youth: A qualitative analysis of influences, barriers, & coping strategies.
       Paper presented at the Annual Meeting of the Career Conference, Madison, WI.
    141.       Budge, S., Schneider, C., Rodriguez, A., Katz-Wise, S., Tebbe, E., & Valdez, C.
       (2008, August). The emotional roller coaster: Transgender experiences of positive and
       negative emotions. Poster presented at the Annual Meeting of the American
       Psychological Association, Boston, MA.
    142.       Nelson, M. L., Huffman, K. & Budge, S. L., (2008, August). Initial validation of
       the Social Class Identity Dissonance Scale. Poster presented at the Annual Meeting of the
       American Psychological Association, Boston, MA.



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    143.       Budge, S. L., Schneider, C., Rodriguez, A., & Howard, K. A. S. (2008, January)
       What about the “T”?: Career counseling with transgender populations. Paper presented
       at the Annual Meeting of the Career Conference, Madison, WI.
    144.       Howard, K. A .S., McKay, K. M., & Budge, S. L. (2007, August) Adolescents’
       use of SOC strategies: The interaction with low-income and high violence contexts.
       Poster presented at the Annual Meeting of the American Psychological Association, San
       Francisco, CA.
    145.       Budge, S. L. & Sherry, A. (2007, August) The influence of gender role on sexual
       compliance: A preliminary investigation of LGB relationships. Poster presented at the
       Annual Meeting of the American Psychological Association, San Francisco, CA.
    146.       Howard, K. A. S., Solberg, V. S., & Budge, S. L. (2007, August). Designing
       culturally responsive school counseling career development programming for youth.
       Paper presented at the Annual Meeting of the American Psychological Association, San
       Francisco, CA.
    147.       Howard, K. A. S., Jones, J. E., Budge, S., Gutierrez, B., Lemke, N., Owen, A., &
       Higgins, K. (2007, April). Academic and career goals of high school youth: processes
       and challenges. Paper presented at the Annual Meeting of the American Educational
       Research Association, Chicago, IL.

REGIONAL PRESENTATIONS
°Invited; Underlining denotes student;

    1. Budge, S.L. (2024, September). Incorporating Radical Healing and Addressing
       Internalized Transnegativity in Psychotherapy for Two Spirit, Transgender, and
       Nonbinary People of Color: An Open Clinical Trial. Institute for Diversity Science Mini
       Conference, University of Wisconsin-Madison, Madison, Wisconsin.
    2. Budge, S.L., Tebbe, E.A., & Lee, J. (2023, October). CBPR Processes for an open
       clinical trial with 2STNB BBPOC clients. UW Diversity Summit, Madison, Wisconsin.
    3. Budge, S.L. & Tebbe, E. (June, 2023). Transgender and nonbinary healthcare for
       behavioral health providers. Midwest AIDS Training + Education Center—Wisconsin,
       University of Wisconsin-Madison.
    4. Dominguez, S. Jr., Matsuno, E., Budge, S. L., & Tebbe, E. (2021, September).
       Gender, Resilience and Resistance, Empowerment, and Affirmation Training. Training
       provided at the University of Wisconsin-Madison via Zoom.
    5. Dominguez, S. Jr., & Budge, S. L. (2021, May). Microaggressions, communication, and
       power dynamics. Workshop presented at the Madison Inclusive Leadership Conference,
       Madison, Wisconsin.
    6. Tebbe, E.A. & Budge, S.L. (2021, April). Transforming healing spaces: Tips and
       considerations in creating trans affirming spaces. Workshop provided at the Wisconsin
       LGBTQ Health Summit, Madison, Wisconsdin.
    7. Budge, S.L., Lindley, L., & Dominguez, S. (2021, February). Supporting mental health
       care for TNB clients. School of Social Work, University of Wisconsin-Madison,
       Madison, Wisconsin.
    8. Budge, S.L. (2020, September). Recruiting LGBTQ populations. Symposium for
       Research Administrators. Madison, Wisconsin.




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    9. Budge, S.L. (2020, September). Best practices for conducting research with LGBTQ
        populations. Institute for Clinical and Translational Research training for researchers at
        the University of Wisconsin-Madison. Madison, Wisconsin.
    10. Budge, S.L. (2019, April). Trans affirmative therapy: Therapy for trans and nonbinary
        clients beyond the “101.” Workshop provided at the Wisconsin LGBTQ Health Summit,
        Madison, Wisconsin.
    11. Guo, E., Mauk, E., & Budge, S.L. (2018, November). Minority stress interventions in a
        psychotherapy pilot trial for transgender clients. Paper presented at the Annual Meeting
        for the Wisconsin Counseling Association, Madison, Wisconsin.
    12. Budge. S.L. (2018, November). Mental Health and Wellbeing: Trans, Nonbinary, and
        Gender Nonconforming People. Paper presented at the Annual Midwest Family Medicine
        Conference, Madison, Wisconsin.
    13. Dyer, R. L., Budge, S. L., Botsford, J., Andert, B., Rehm, J., & Allen, B. (April
        2018). Supporting trans youth in rural Wisconsin. Symposium presented at the 2018
        Wisqueer Conference, Madison, Wisconsin.
    14. Dyer, R. L., Budge, S. L., Botsford, J., Andert, B., Rehm, J., & Allen, B. (April
        2018). Trans youth needs assessment survey results: Nonmetropolitan-metropolitan
        differences in perceived safety at school for Wisconsin trans and nonbinary youth. Poster
        presented at the 2018 Wisconsin Psychological Association Convention, Appleton,
        Wisconsin.
    15. Budge, S.L. & Bostford, J. (February, 2018). Trans experiences in Mental Health.
        Symposium presented at the 2018 Wisconsin LGBTQ Summit, Milwaukee, Wisconsin.
    16. Dyer, R. L., Budge, S. L., Botsford, J., Andert, B., Rehm, J., & Allen, B. (February
        2018). Supporting trans youth in rural Wisconsin. Symposium presented at the 2018
        Wisconsin LGBTQ Summit, Milwaukee, Wisconsin.
    17. °Budge, S.L. (2017, September). Transgender individuals and minority stress: The past,
        present, and future. Research talk presented for the UW Department of Psychology
        Diversity series.
    18. °Budge, S.L. and Karcher, O. (2017, May). Supporting trans youth and their mental
        health needs, Part 2. Paper presented at the Supporting Trans and Gender Expansive
        Youth conference, Madison, Wisconsin.
    19. °Budge, S.L. (2016, October). Supporting trans youth and their mental health needs.
        Paper presented at the Supporting Trans and Gender Expansive Youth conference,
        Madison, Wisconsin.
    20. Budge, S.L. (2013, November). Incorporating an IPT approach with transgender clients.
        Paper presented at the Annual Kentucky Psychological Association Conference,
        Lexington, Kentucky.
    21. Budge, S.L. (2013, April). Using interpersonal therapy with transgender clients.
        Workshop provided at the Annual University of Florida Interdisciplinary Conference on
        LGBT Issues.
    22. Barr, S. M. & Budge, S. L. (2013, April). The role of identity integration in the
        emotional well-being of post-transition individuals. Poster presentation at the Kentucky
        Psychological Association Student Research Conference, Louisville, Kentucky.
    23. Orovecz, J., Thai, J.L., & Budge, S.L. (2013, April). “I’m stoked about life”: The
        emotional processes of trans men through a qualitative lens. Poster presented at the
        Spring Research Conference, Lexington, Kentucky.



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    24. Rossman, K. & Budge, S.L. (2013, April). Genderqueer individuals’ mental health
        concerns: The relationship between social support and coping. Paper presented at the
        Spring Research Conference, Lexington, Kentucky.
    25. Barr, S. M. & Budge, S. L. (2013, April). The role of identity integration in the
        emotional well-being of post-transition individuals. Poster presented at the Spring
        Research Conference, Lexington, Kentucky.
    26. Rossman, K. & Budge, S.L. (2013, June). Just the fact that I commanded that respect - I
        got the privilege: Qualitative examination of privilege in the trans community. Paper
        presented at the Spring Research Conference, Lexington, Kentucky.
    27. Keller, B.L., Barr, S.M., & Budge, S. L. (2013, April). “For every bad, there’s 40 good
        things that happen”: A qualitative approach to understanding the positive emotional
        experiences of trans women. Poster presentation at the Spring Research Conference,
        Lexington, Kentucky.
    28. Orovecz, J., Thai, J.L., & Budge, S.L. (2013, April). “I’m stoked about life”: The
        emotional processes of trans men through a qualitative lens. Presented at the Spring
        Research Conference, Lexington, Kentucky.
    29. Orovecz, J., Thai, J.L., & Budge, S.L. (2013, March). “I’m me, and I’m proud to be
        me”: A grounded theory analysis of trans men’s emotional processes. Presented at the
        Kentucky Psychological Association Foundation Spring Academic Conference,
        Louisville, Kentucky.
    30. Eleazer, J. R. & Budge, S. L. (2013, March). “It would be better for them to have a dead
        hero for a father than a freak:” Suicidality and trans military service. Poster presented at
        the Kentucky Psychological Association Spring Academic Conference, Louisville,
        Kentucky.
    31. Sinnard, M., Rossman, K., & Budge, S. L. (2013, March). Positive emotional
        experiences of gender non-binary identified individuals. Poster presentation at the
        Kentucky Psychological Association Student Research Conference, Louisville, Kentucky.
    32. Barr, S.M., Stahl, A., Manthos, M., & Budge, S.L. (2012, November). “It means there
        aren’t rules and you don’t have to ascribe to a specific binary”: A qualitative
        examination of genderqueer identity. Paper presented at the Chicago LGBTQ Health and
        Wellness Conference, Chicago, Illinois.
    33. Thai, J.L., Orovecz, J., & Budge, S.L. (2012, November). Trans men and positivity:
        Emotional processes related to identity. Paper presented at the Chicago LGBTQ Health
        and Wellness Conference, Chicago, Illinois.
    34. Budge, S.L., Barr, S.M., Orovecz, J., & Rossman, H.K. (2012, November). Clinical work
        with LGBT youth. Workshop provided at the Annual Kentucky Psychological Association
        Conference, Louisville, Kentucky.
    35. Budge, S.L., Lee, S., & Monahan-Rial, V. (2011, February). Bridging institutional gaps:
        Utilizing transgender-affirmative therapy with college students. Workshop presented at
        the Annual Meeting for the Big 10 College Counseling Center Conference, Minneapolis,
        Minnesota.
    36. Lee, J., Budge, S.L., Wilson, J.L., & Roper, J.M. (2011, February). The Korean
        Conundrum: Managing stigma in the recruitment of group counseling members.
        Workshop presented at the Annual Meeting for the Big 10 College Counseling Center
        Conference, Minneapolis, Minnesota.




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    37. °Budge, S.L. & Katz-Wise, S.L. (2010, February). Transition to adulthood:
        Developmental steps for transgender individuals. Workshop presented at the Conference
        on Transgender and Gender Variant Youth, Madison, Wisconsin.
    38. °Budge, S.L. (2009, October). Individualized Learning Plans: Parent, student, and
        educator focus groups. Paper presented at the Fall Institute for the National Collaborative
        on Workforce and Disability/Youth, Charleston, South Carolina.

KEYNOTE AND INVITED PRESENTATIONS

    1. Budge, S.L. & Lindley, L. (2024, October). Moving Beyond Trans 101: Evidence-based
        Therapeutic Interventions for Working with Trans and Nonbinary Clients. Presentation
        for Sunshine Social Services, Wilton, Manors Florida.
    2. Budge, S.L. & Norton, M.D (2024, September). Ethical considerations for mental health
        providers working with trans and nonbinary youth and their families. Calapla Health
        Training, Appleton, WI.
    3. Budge, S.L. & Norton (2023, October). Mental Health and Trans and Nonbinary Youth.
        Presentation to the Wisconsin State Bar Association, Madison, Wisconsin.
    4. Budge, S.L. & Tebbe, E. (April, 2023). Transformative Justice and Healing in Mental
        Health Care for Transgender and Nonbinary People. University of Louisville, Louisville,
        Kentucky.
    5. Budge, S.L. & Hamer, J. (2022, December). Diversity Management Strategies to
        Improve Cross-Cultural and Intercultural Communication in Research Teams. Invited
        training to the Center for Innovations in Quality, Effectiveness, and Safety at the Houston
        Veterans Affairs, Houston, Texas.
    6. Budge, S.L. (2022, November). Community-Based Research: A Step-By-Step Guide to
        Starting and Implementing Research Team and Community Feedback. University of
        Arkansas Department of Psychiatry and Behavioral Sciences and South Central MIRECC
        for Veterans Affairs, Little Rock, Arkansas.
    7. Budge, S.L. (2022, October). Community-centered mental health. Workshop provided to
        LGBTQ+ Health Fellows in the School of Medicine and Public Health, University of
        Wisconsin-Madison, Madison, WI.
    8. Budge, S.L. (2022, October). Barriers and Successful Outcomes in Recruiting
        Participants for Clinical Trial Research. Invited talk to the Center for Innovations in
        Quality, Effectiveness, and Safety at the Houston Veterans Affairs, Houston, Texas.
    9. Budge, S.L. (2022, October). Lessons learned from being an expert witness in
        discrimination trials. Invited talk University of Wisconsin-Madison Law School,
        University of Wisconsin-Madison, Madison, Wisconsin.
    10. Budge, S.L. (2022, October). LGBTQ+ Advocacy and Activism in Psychology. Invited
        talk at Clark University, Worcester, Massachusetts.
    11. Budge, S.L. (2022, October). Reducing barriers to accessing mental health care for Two
        Spirit, trans, and nonbinary people of color: An open clinical trial. Invited talk at Arizona
        State University, Tempe, Arizona.
    12. Budge, S.L. & Tebbe, E.A. (2022, July). Attending to internalized stigma in
        psychotherapy with Two Spirit, Transgender, and Nonbinary Clients. Workshop provided
        to Sondermind Therapy. Virtual workshop.




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    13. Budge, S.L. (2022, July). Best practices in supporting trans and nonbinary youth. School
        of Education Early Career Institute, University of Wisconsin-Madison, Madison,
        Wisconsin.
    14. Budge, S.L., (2022, April). Reducing barriers to accessing mental health care for Two
        Spirit, trans, and nonbinary people of color: An open clinical trial building upon lessons
        learned. Invited talk to the Center for Innovations in Quality, Effectiveness, and Safety at
        the Houston Veterans Affairs, Houston, Texas.
    15. Budge, S.L., (2022, April). Conducting psychotherapy research with transgender and
        nonbinary populations: CBPR Methods and Lessons Learned. University of Arkansas
        Department of Psychiatry and Behavioral Sciences and South Central MIRECC for
        Veterans Affairs, Little Rock, Arkansas.
    16. Budge, S.L. (2022, April). Queering networking. Workshop provided by the APA
        Division 44 Science Committee. Virtual workshop.
    17. Budge, S.L. (2022, April). Queering research. Workshop provided by the APA Division
        44 Science Committee. Virtual.
    18. Budge, S.L. (2022, April). Providing evidence-based psychotherapy to transgender and
        nonbinary clients: Beyond the basics. Keynote presented at the Kentucky Psychological
        Association conference in Louisville, KY.
    19. Budge, S.L. Dominguez, Jr., S., & Lee, J. (2022, March). Providing trans affirming care
        to youth. Intern seminar at the Wisconsin Psychiatric Institute and Clinics, University of
        Wisconsin-Madison.
    20. Budge, S.L., Dominguez Jr., S., & Norton, M. (2022, February). Incorporating radical
        healing and addressing internalized transnegativity in psychotherapy for transgender,
        Two Spirit, and nonbinary people of color: A community-based participatory research
        approach. Workshop provided to the School Psychology Department, University of
        Wisconsin-Madison.
    21. Tebbe, E.A. & Budge, S.L. (2022, January). LGBTQ identity development in young
        people. Training provided to the Central Wisconsin Health Partnership, Appleton,
        Wisconsin.
    22. Budge, S.L. & Tebbe, E.A. (2021, December). Providing Trans-Affirming Therapy to
        Two-Spirit, Transgender, and Nonbinary Clients: The Basics. Workshop provided to
        Sondermind Therapy.
    23. Budge, S.L. (2021, October). Psychotherapy with Two-Spirit, Transgender, and
        Nonbinary Patients. Grand Rounds provided at Westchester Medical Center/New York
        Medical College, Westchester, NY.
    24. Dominguez, S. Jr., & Budge, S. L. (2021, October). Healthcare Discrimination Toward
        LGBTQ+ People & Discrimination-Related Ruptures, Department of Health Services
        Learning Community Conference, Madison, Wisconsin
    25. Budge, S. L. (2021, October). Supporting LGBTQ+ community members, Department of
        Health Services Learning Community Conference, Madison, Wisconsin
    26. Budge, S.L. & Tebbe, E.A. (2021, July). Beyond the basics: Recommendations for
        practitioners writing letters of support. Workshop provided to American Psychological
        Association Division 17 Members.
    27. Budge, S.L. (2021, February). Conducting psychotherapy research with trans and
        nonbinary populations. Presented to the Counseling Psychology department at the
        University of British Columbia, Vancouver, Canada.



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    28. Budge, S.L. & Dominguez, S. Jr. (2019, November). Mental health care for transgender,
        nonbinary, and gender nonconforming clients. Presented to practitioners at Group Health
        Cooperative Insurance, Madison, Wisconsin.
    29. °Budge, S.L., Dominguez, S.Jr., Mauk, E., & Sweetnam, M. (2018, October). School of
        Education: At the forefront of transgender studies. Presented to the Board of Visitors at
        the School of Education—University of Wisconsin-Madison.
    30. °Budge, S.L. & Mauk, E. (2017, May). Health and well-being of LGBTQ students:
        Lessons learned and recommendations for educators. Invited presentation at the CESA
        Conference, Madison, Wisconsin.
    31. °Budge, S.L. (2016, March). The construction of gender identity as “disordered”: A
        critical examination of mental health using trans narratives. Invited presentation at the
        Women’s and Gender Studies Forum at the University of Florida, Gainesville, Florida.
    32. °Budge, S.L. (2016, March). Understanding, acknowledging, and responding to LGBTQ
        microaggressions in health care settings. Keynote provided at the Florida Area Health
        Education Center, Gainesville, Florida.
    33. °Budge, S.L. (2014, September). Positivity in trans populations: Implications for
        vocational psychology. Boston University, Boston, Massachusetts.
    34. °Budge, S.L. (2013, April). Future directions for research and therapy with trans and
        gender diverse individuals. Keynote provided at the Annual University of Florida
        Interdisciplinary Conference on LGBT Issues.
    35. °Budge, S.L. (2013, March). The psychology of sexual orientation and gender identity:
        future directions and implications. Keynote provided at the East Texas Psi Chi Student
        Research Conference, Tyler, Texas.

NATIONAL RESEARCH BRIEFINGS

    1. °Budge, S.L., & Solberg, V.S., (2010, March) Career exploration and the use of career
       narrative data for high school students’ career exploration processes: A United States
       sample. Research briefing presented at the Department of Labor, Washington, D.C.
    2. °Budge, S.L., Solberg, V.S., & Phelps, A.L. (2010, March) Individualized Learning
       Plans within a community-oriented approach: The usefulness of focus group data with
       parents, teachers, and students. Research briefing presented at the Department of Labor,
       Washington, D.C.

INTERNATIONAL RESEARCH BRIEFINGS

    1. °Budge, S.L., & Solberg, V.S., (2010, February) A three-tiered approach to analyze the
       career decision making processes using focus group data with Singaporean parents,
       students, and staff. Research briefing presented at the Ministry of Education, Singapore.
    2. °Budge, S.L., & Solberg, V.S., (2010, February) Use of narrative analysis for high
       school students’ career exploration processes: A Singapore Sample. Research briefing
       presented at the Ministry of Education, Singapore.


EXPERT WITNESS AND PUBLIC INTEREST EXPERIENCE




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Doe v. State of South Carolina, No. 2:24-cv-06420-RMG (South Carolina, 2024)

R.F. v. Platte County R-3 School District, No. 23AE-CC00205 (Missouri, 2024)

Doe v. Elkhorn Area School District, No. 2:24-cv-00356 (Wisconsin, 2024)

Roe v. Idaho State Board of Education, No. 1:23-cv-315 (Idaho, 2023)

Doe v. Arizona Department of Education (Arizona, 2023)

Lusk v. Minnesota Department of Corrections, No. 62-CV-22-3284 (Minnesota, 2022)

Bridge v. Oklahoma State Department of Education, No. CIV-22-787-JD (Oklahoma, 2022)

Cooper v. USA Powerlifting & USA Powerlifting Minnesota, No. 62-CV-21-211 (Minnesota,
2021)

Boyden v. State of Wisconsin Employee Trust Funds, No. 17-cv-264 (Wisconsin, 2018)

Flack v. Wisconsin Department of Health Services, No. 3:18-cv-00309 (Wisconsin, 2018)

Whitaker v. Kenosha Unified School District, No. 2:16-cv-00943-PP (7th Cir. 2016)

Name redacted (private case of a transgender woman seeking asylum), United States DOJ
Immigration Court Case (2015)

Amicas Brief Contributions:

Catholic Charities v. Whitmer, No. 25-1105 (6th Cir. 2025)

Mahmoud v. Taylor, No. 24-297 (US Supreme Court, 2025)

United States of America v. Skrmetti, No. 23-477 (US Supreme Court, 2024)



                             TEACHING EXPERIENCE

University of Wisconsin-Madison Courses (Fall 2014 – current)
      *CP = counseling psychology, SMPH = school of medicine and public health

Fall 2024
       CP 904: Practicum: enrollment =
       CP 926: Ethical and Legal Considerations in Counseling Psychology (graduate):
       enrollment = 7




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Summer 2024
    CP 901: Practicum: enrollment = 7
    CP 903: Advanced practicum: enrollment = 2
    CP 908: Internship preparation: enrollment = 12

Spring 2023
      CP 900: Foundational practicum (graduate): enrollment = 7
      CP 903: Advanced practicum (graduate): enrollment = 8
      CP 802: Group Therapy (graduate): enrollment = 11
      CP 105: Interpersonal Relationships (undergraduate): enrollment = 6
      SMPH: AHEAD Seminars (enrollment varies from 10-15)

Fall 2023
       CP 926: Ethical and Legal Considerations in Counseling Psychology (graduate):
       enrollment = 6
       CP 990: Independent research (graduate): enrollment = 6
       SMPH: AHEAD Seminars (enrollment varies from 10-15)
Summer 2023
       CP 332: Gender and Queer Issues in Psychology (undergraduate): enrollment = 9

Summer 2022
    CP 332: Gender and Queer Issues in Psychology (undergraduate): enrollment = 9

Spring 2022
      CP 900: Foundational practicum (graduate): enrollment = 6
      CP 903: Advanced practicum (graduate): enrollment = 7
      SMPH: AHEAD Seminars (enrollment varies from 10-15)

Fall 2021
       CP 926: Ethical and Legal Considerations in Counseling Psychology (graduate):
       enrollment = 9
       CP 990: Independent research (graduate): enrollment = 6
       SMPH: AHEAD Seminars (enrollment varies from 10-15)

Summer 2021
    CP 332: Gender and Queer Issues in Psychology (undergraduate): enrollment = 10

Spring 2021
      CP 900: Foundational practicum (graduate): enrollment = 7
      CP 903: Advanced practicum (graduate): enrollment = 3
      CP 905: Research Practicum (graduate): enrollment = 17
      SMPH: AHEAD Seminars (enrollment varies from 10-15)

Fall 2020
       CP 860: Social and Cultural Foundations of Counseling (graduate): enrollment = 28
       CP 990: Independent research (graduate): enrollment = 6



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        SMPH: AHEAD Seminars (enrollment varies from 10-15)

Summer 2020
    CP 332: Gender and Queer Issues in Psychology (undergraduate): enrollment = 11

Spring 2020
      CP 900: Foundational practicum (graduate): enrollment = 4
      CP 903: Advanced practicum (graduate): enrollment = 5
      CP 699: Independent research (undergraduate): enrollment = 2
      CP 990: Independent research (graduate): enrollment = 3
      SMPH: AHEAD Seminars (enrollment varies from 10-15)

Fall 2019
       On maternity leave

Spring 2019
      CP 900: Foundational practicum (graduate): enrollment = 4
      CP 903: Advanced practicum (graduate): enrollment = 5
      CP 699: Independent research (undergraduate): enrollment = 6
      CP 990: Independent research (graduate): enrollment = 3
      SMPH: AHEAD Seminars (enrollment varies from 10-15)

Fall 2018
       CP 805: Helping Relationships & Techniques (graduate): enrollment = 15
       CP 905: Research Practicum (graduate): enrollment = 11
       CP 990: Independent Research (graduate): enrollment = 2
       CP 699: Independent Research (undergraduate): enrollment = 8
       SMPH: AHEAD Seminars (enrollment varies from 10-15)

Spring 2018
      CP 806: Pre-practicum (graduate): enrollment = 13
      CP 900: Foundational practicum (graduate): enrollment = 4
      CP 903: Advanced practicum (graduate): enrollment = 5
      CP 699: Independent research (undergraduate): enrollment = 6
      CP 990: Independent research (graduate): enrollment = 3

Fall 2017
       CP 951: Research in Individual Interventions (graduate): enrollment = 12
       CP 999: Independent Study (graduate): enrollment = 1
       CP 990: Independent Research (graduate): enrollment = 2
       CP 699: Independent Research (undergraduate): enrollment = 3

Summer 2017
    CP 699: Independent Research (undergraduate): enrollment = 1

Spring 2017



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        CP 903: Advanced Practicum (graduate): enrollment = 8
        CP 900: Foundational Practicum (graduate): enrollment = 5
        CP 890: Advanced Assessment Techniques (graduate): enrollment = 10
        CP 999: Independent Study (graduate): enrollment = 1
        CP 990: Independent Research (graduate): enrollment = 1
        CP 699: Independent Research (undergraduate): enrollment = 8

Fall 2016
       CP 805: Helping Relationships & Techniques (graduate): enrollment = 15
       CP 990: Independent Research (graduate): enrollment = 2
       CP 699: Independent Research (undergraduate): enrollment = 8

Summer 2016
    CP 699: Independent Research (undergraduate): enrollment = 1

Spring 2016
      CP 903: Advanced Practicum (graduate): enrollment = 4
      CP 900: Foundational Practicum (graduate): enrollment = 9
      CP 810: Professional Development/Clinical Practice (graduate): enrollment = 8
      CP 699: Independent Research (undergraduate): enrollment = 1
      Counseling Psychology Training Clinic Supervision (n = 7)

Fall 2015
       CP 805: Helping Relationships & Techniques (graduate): enrollment = 10
       CP 999: Independent Study (graduate): enrollment = 10

Spring 2015
      CP 806: Master’s Pre-Practicum (graduate): enrollment = 17
      CP 990: Independent Research (graduate): enrollment = 8
      CP 901: Counseling Psych Practicum (graduate): enrollment = 1
      CP 699: Independent Research (undergraduate): enrollment = 1
      Counseling Psychology Training Clinic Supervision (n = 12)

Fall 2014
       CP 805: Helping Relationships & Techniques (graduate): enrollment = 17
       CP 999: Independent Study (graduate): enrollment = 5

Course or Curriculum Development at UW-Madison From 2014-current

Group Counseling (new course)                                                   2023
Ethical and Legal Considerations in Counseling Psychology (new)                 2021
Social and Cultural Foundations (new curriculum)                                2020
LGBTQ Psychology (new course)                                                   2020
Doctoral Research Practicum (new course)                                        2018
Individual Interventions (new course)                                           2017
Advanced Assessment Techniques (new curriculum)                                 2017



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Advanced Doctoral Clinical Practicum (new course)                                  2016
Foundational Doctoral Clinical Practicum (new course)                              2016
Master’s Pre-Practicum (new course)                                                2015
Helping Relationships & Techniques (new course)                                    2014

Previous Teaching

University of Louisville Courses
      ECPY 780: Advanced Practicum
      ECPY 648: Intellectual Assessment
      ECPY 663: Multicultural Issues
      ECPY 629: Theories and Techniques of Counseling
      ECPY 621: Differential Diagnosis
      ECPY 793: Gender and Queer Issues In Psychology
      ECPY 793: Advanced Multicultural Psychotherapy
      ECPY 700: Supervised Research

Graduate-Student Teaching:
     University of Wisconsin-Madison (2006-2009)
     CP 804: Research Methods
     CP 994: Personality Assessment
     CP 650: Interviewing Skills
     CP 115: First Year Experience

        University of Texas at Austin (2005-2006)
        PSY 301: Introduction to Psychology

Supervision of Clinical Work at UW-Madison

Provision of Supervision at the
Counseling Psychology Training Clinic                                      8/2014 – 5/2016

I was the on-site licensed psychologist and supervisor for one clinic night per
week. Provided individual clinical supervision to 7 masters and doctoral
students (1 hr. per week of individual clinical supervision for each student in
addition to administration [feedback on notes and watching video-recordings of
sessions]). Provided one hour of group supervision on the night I was on-site at
the clinic.

Provision of Supervision to students in
the Pre-Practicum course (CP 806).                                         1/2015 – 5/2015

Provided individual supervision (above and beyond class duties, due to low
staffing in the department) to masters and doctoral students for the CP 806
course in the Spring of 2015.




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                                   SERVICE ACTIVITIES


PUBLIC SERVICE (From 2014- current)

Wisconsin Transgender Health Coalition (WTHC)                              5/2015-current

I have been involved in the organization since its inception. I have mainly been involved in the
“data and dissemination” team, where I provide my expertise as researcher helping community
members establish their own research projects and write grants to support personnel within the
coalition. As a part of this team, I have given presentations to community members about
population-based data within Wisconsin that can influence access to more medical and mental
health care. I have also assisted team members with creating surveys and recruiting individuals
to be a part of a Wisconsin needs assessment of transgender youth. We meet once per month to
focus on the larger data team and have smaller meetings throughout the month to focus on
community outreach and training to disseminate research in a fashion that is most helpful for
individuals who are not involved in academia.

Co-Coordinator and Co-Chair for the Transgender
and Gender Expansive Youth Conference                                      2/2016-current

Attend meetings for an ongoing planning committee to coordinate semi-annual conferences
about the concerns of transgender youth. Helped develop an agenda for the conferences, planned
speakers, coordinated a budget, and decided on special topics for the conference. Introduce the
keynote speaker at the conference and provide project management during the day of the
conference. Provided three one-hour long sessions to educate teachers, school
staff, mental health professionals, and community members.

Pro-Bono Psychotherapy                                                     8/2015 - current

Provided 1.5 hours of pro-bono weekly group psychotherapy to transgender and gender
expansive youth at the Counseling Psychology Training Clinic from 2015-2016. Provided group
therapy training to a doctoral student to conduct co-therapy with me as part of the group.
Provided individual therapy to clients at the CPTC from Spring 2021-2022. Conducts
assessments for referral letters at the CPTC (ongoing).

Community Presentations and Trainings

UW Health Behavioral Health Youth and Family Clinic                        5/2021

CORE Lab—UW-Madison                                                        4/2021

University of Utah                                                         3/2021

Counseling Psychology Training Clinic, UW-Madison                          2/2021



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University of British Columbia                                           2/2021

Pauquette Center for Psychological Services                              1/2021

Nehemiah--Center for Urban Leadership                                    12/2020

University of Utah                                                       11/2020

Gender and Sexuality Campus Center                                       11/2020

Alamo Area Resource Center                                               7/2020

Brown University                                                         1/2020

Group Health Cooperative Insurance                                       11/2019

Group Health Cooperative Insurance                                       12/2017

Goodman Community Center and UW Health                                   9/2017

Marquette University                                                     8/2017

Madison Metropolitan School District                                     5/2017

Wisconsin Department of Public Safety                                    4/2017

Psychiatric Services                                                     2/2017

FORGE                                                                    1/2017

Wisconsin Department of Public Instruction                               12/2016

Madison Metropolitan School District                                     10/2016

Marquette University                                                     5/2016

PROFESSIONAL SERVICE

Associate Editor
Psychotherapy                                                            1/2014 – 1/2022
Psychology of Sexual Orientation and Gender Diversity                    8/2020 -- current

Guest Editor of Special Sections
Psychotherapy                                                            5/2019
Journal of Counseling Psychology                                         12/2017



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Psychology of Sexual Orientation and Gender Diversity                       12/2017
Psychotherapy                                                               9/2016

Editorial Board
Psychotherapy                                                               1/2011 – 12/2013
Archives of Sexual Behavior                                                 1/2014 – 12/2016
Psychology of Sexual Orientation and Gender Diversity                       1/2016 – 8/2020
International Journal of Transgender Health                                 1/2016 – current
LGBTQ+ Family: An Interdisciplinary Journal                                 9/2022 - current

Ad Hoc Reviewer: Journal of Consulting and Clinical Psychology, Clinical Psychology Review,
Journal of Counseling Psychology, The Counseling Psychologist, Feminism and Psychology,
Psychology of Religion and Spirituality, Psychology of Women Quarterly, Journal of GLBT
Family Issues, BioMed Central Journal, The Cognitive Behavior Therapist, Psychotherapy
Research, Routledge Publishers, Harvard University Press, Family Process, Journal of
Adolescent Health

Leadership in Professional Organizations

Co-Chair of APA Working Group—Transgender Youth                              8/2022 – current
This special working group focuses on improving communication around evidence-based care
for transgender and nonbinary youth. In this group, we created a resolution focused on
transgender and nonbinary youth, wrote and submitted a commentary to Journal of Adolescent
Health, and created an interdivisional statement regarding the state of care for transgender and
nonbinary youth.

Co-Chair of Division 17 Special Task Group                                  8/2019 – 8/2020
 "Building a Trans and Nonbinary Pipeline into Counseling Psychology." This special task group
included giving a free webinar about increasing access for trans and nonbinary students into
doctoral psych programs, creating a curriculum guide for psychology courses, and supporting a
research project that focused on trans and nonbinary students' experiences in counseling
psychology programs

Co-Chair of Division 44 Science Committee                                8/2011 - current
Society for the Psychological Study of Lesbian, Gay, Bisexual, and Transgender Issues (Division
44)

Membership in Professional Organizations

American Psychological Association (APA)
  • Society of Counseling Psychology (Division 17)
  • Division of Psychotherapy (Division 29)
  • Society for the Psychology of Women (Division 35)
  • Society for the Psychological Study of Lesbian, Gay, Bisexual, and Transgender Issues
      (Division 44)
  • Society of Clinical Child and Adolescent Psychology (Division 53)


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World Professional Association for Transgender Health (WPATH)
Society for Psychotherapy Research (SPR)


UNIVERSITY SERVICE

University Committee
Faculty Senate (alternate)                                              5/2016 – current
LGBTQ University Committee                                              5/2017 – 6/2024

School of Education Committee
Diversity, Equity, and Inclusion School of Education Committee          8/2023 – current
Information Technology Policy Advisory Committee                        8/2014 – 8/2019

Department Committee
Doctoral Training Director                                              4/2024 – current
Doctoral Training Committee                                             8/2015 – current
Doctoral Admissions Chair                                               8/2017 – 8/2024
Social Justice Committee (chair)                                        8/2016 – 8/2019
Salary and Promotion Committee                                          8/2016 - current
Masters Training Committee                                              8/2014 – 8/2015

Doctoral Dissertation Committees (*Denotes Chair)
*Kinton Rossman (University of Louisville; Defended)
*Jayden Thai (University of Louisville; Defended)
Jake Nienhuis (University of Louisville; Defended)
Kelley Quirk (University of Louisville; Defended)
Keldric Thomas (University of Louisville; Defended)
Johanna Strokoff (University of Louisville; Defended)
Elise Romines (University of Louisville; Defended)
Sebastian Barr (University of Louisville; Defended)
Julia Benjamin (University of Wisconsin-Madison; Defended)
*Craig Hase (University of Wisconsin-Madison; Defended)
Sarah McArdell Moore (University of Wisconsin-Madison, Defended)
Noah Yulish (University of Wisconsin-Madison, Defended)
Nick Frost (University of Wisconsin-Madison, Defended)
Lindsey Houghton (University of Wisconsin-Madison, Defended)
Shufang Sun (University of Wisconsin-Madison, Defended)
*Joe Orovecz (University of Wisconsin-Madison, Defended)
Andrew Wislocki (University of Wisconsin-Madison, Defended)
Dustin Brockberg (University of Wisconsin-Madison, Defended)
*Christo Raines (University of Wisconsin-Madison, Defended)
Alyssa Ramirez Stege (University of Wisconsin-Madison, Defended)
Mun Yuk Chin (University of Wisconsin-Madison, Defended)
Molly Kring (University of Wisconsin-Madison, Defended)
*Laura Minero (University of Wisconsin-Madison, Defended)



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*Morgan Sinnard (University of Wisconsin-Madison, Defended)
*Aaron Stumpf (University of Wisconsin-Madison, Defended)
*Jaime Lam (University of Wisconsin-Madison, Defended)
Kate Bakhuizen (University of Wisconsin-Madison, Defended)
Nataly Ibarra (University of Wisconsin-Madison, Defended)
*Jessica Perez-Chavez (University of Wisconsin-Madison, Defended)
*Austen Chase Matsui (University of Wisconsin-Madison, Defended)
Zubin DeVitre (University of Wisconsin-Madison, Defended)
Meier (University of Wisconsin-Madison, Defended)
Anna Pederson (University of Wisconsin-Madison, Defended)
*Rachel Dyer (University of Wisconsin-Madison, Defended)
*Sergio Dominguez, Jr. (University of Wisconsin-Madison, Defended)
Katelyn Matkin (University of Wisconsin-Madison, Defended)
*Louis Lindley (University of Wisconsin-Madison, Defended)
Diana Love (University of Wisconsin-Madison, Defended)
Re Aee Jordan (University of Wisconsin-Madison, Defended)
*Marquel Norton (University of Wisconsin-Madison, Proposed)
*Joonwoo Lee (University of Wisconsin-Madison, Proposed)
Kevin Riordan (University of Wisconsin-Madison, Proposed)
*Allison McQuirk (University of Wisconsin-Madison, Proposed)

Undergraduate Thesis Committees
Morgan Sinnard (University of Louisville; Chair, Defended)




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